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AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT

Dated as of [ ]

BETWEEN

RICKETTS ACQUISITION LLC,

CHICAGO NATIONAL LEAGUE BALL CLUB, LLC,

WRIGLEY FIELD PREMIUM TICKET SERVICES, LLC,

DIANA-QUENTIN, LLC,

TRIBUNE SPORTS NETWORK HOLDINGS, LLC,

AND

CHICAGO CUBS DOMINICAN BASEBALL OPERATIONS, LLC

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AMENDED AND RESTATED
LIMITED LIABILITY COMPANY AGREEMENT

OF
CHICAGO BASEBALL HOLDINGS, LLC

This Amended and Restated Limited Liability Company Agreement (this “Agreement”)
dated as of , 2009 is among Chicago Baseball Holdings, LLC, a Delaware limited
liability company (the “Company”), Ricketts Acquisition LLC, a Delaware limited liability
company (“Ricketts Member’), Chicago National League Ball Club, LLC, a Delaware limited
liability company (which will change its name to , LLC) (“Cubs LLC”),
Tribune Sports Network Holdings, LLC, a Delaware limited liability company (which will
change its name to , LLC) (“Tribune Sports”), Wrigley Field Premium Ticket
Services, LLC (which will change its name to , LLC) (“Premium Tickets LLC”),
Diana-Quentin, LLC, a Delaware limited liability company (which will change its name to

, LLC) (“DQ LLC”), and Chicago Cubs Dominican Baseball Operations, LLC
(which will change its name to , LLC)(“Dominican LLC”, together with Cubs
LLC, Tribune Sports, Premium Tickets LLC and DQ LLC, the “Tribune Members” and each a
“Tribune Member’). Capitalized terms used but not defined elsewhere herein shall have the
meanings assigned to them in Exhibit A.

WHEREAS, Chicago Baseball Holdings, LLC was formed under Delaware law pursuant
to a Certificate of Formation filed with the Delaware Secretary of State on or about July 8, 2009,
and a Limited Liability Company Agreement dated as of July 8, 2009 (the “Original
Agreement’);

WHEREAS, Ricketts Member, the Tribune Members and Tribune Company, a Delaware
corporation (“Tribune’’), are parties to a Formation Agreement dated as of
2009 (as the same may be amended from time to time, the “Formation Agreement”);

+

WHEREAS, pursuant to the Formation Agreement, each of Ricketts Member and the
Tribune Members will contribute, or cause to be contributed, to the Company certain assets and
liabilities in exchange for a membership interest in the Company;

WHEREAS, the Company, the Members, Tribune and certain of their Affiliates are
parties to that certain Tax Matters Agreement that governs certain rights and obligations of the
parties hereunder; and

WHEREAS, the Members desire to enter into this Agreement, which shall constitute the
limited liability company agreement of the Members under the Act, for the purpose of setting
forth the agreements of the Members as to the affairs of the Company and the conduct of its
Business.

NOW THEREFORE, in consideration of the premises and other covenants and
conditions contained herein, the parties agree as follows:

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ARTICLE 1
The Company

Section 1.1 Formation.

(a) A certificate of formation of the Company was filed in the office of the
Secretary of State of the State of Delaware on July 8, 2009. The Members confirm their
agreement that, from and after the date hereof, the Company shall be governed by the terms of
this Agreement and the Act. Any previous agreement for the formation, organization, and
governance of the Company, including (without limitation) the Original Agreement, is hereby
superseded and amended by substituting this Agreement therefor in its entirety. To the extent
permitted under the Act, in the case of any conflict between the terms of this Agreement and the
Act, the terms of this Agreement shall prevail.

(b) | The Tribune Members and Ricketts Member hereby agree to be, and are
hereby, admitted as Members of the Company.

(c) As of the date of this Agreement, after giving effect to the transactions
described in Section 1.3, (1) the Tribune Members shall own an aggregate Percentage Share equal
to 5%, and (11) Ricketts Member shall own a Percentage Share equal to 95%.

Section 1.2. | Name. The name of the Company shall be “Chicago Baseball Holdings,
LLC” or such other name as may be determined by the Board from time to time.

Section 1.3. Organizational Contributions and Actions. On the Closing Date, the
following actions are taking place pursuant to the Formation Agreement:

(a) The Tribune Members are contributing to the Company or one or more of
its Subsidiaries all of the Cubs Contributed Assets and Cubs Assumed Liabilities. The Members
agree that the Cubs Contributed Assets, Cubs Assumed Liabilities and any Retained Cubs
Current Asset transferred to the Company or any Subsidiary shall have an Agreed Value
(inclusive of any amount paid to, or any Retained Cubs Current Assets transferred to, the
Company pursuant to Section 1.5 of the Formation Agreement) of $

(b) Ricketts Member is contributing $ in cash to the Company.
(c) The Company and its Subsidiaries are entering into the Debt Financing.

(d) The Company is making an aggregate special distribution to the Tribune
Members in the amount of the Estimated Special Distribution Amount, which may be adjusted
pursuant to Section 1.5 of the Formation Agreement (the “Special Distribution’).

Section 1.4 Registered Office; Chief Executive Office. The Company shall maintain a
registered office and registered agent in Delaware to the extent required by the Act, which office
and agent shail be as determined by the Board from time to time. Initially (and until otherwise
determined by the Board), the registered office in Delaware, and the name and address of the
Company’s registered agent in Delaware, shall be as specified in the certificate of formation of

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the Company as originally filed. The chief executive office of the Company shall be located at
such place as shall be determined by Board from time to time.

Section 1.5 Purpose; Duration.

(a) Subject to the limitations contained elsewhere in this Agreement, the
purpose of the Company is limited solely to engaging in (i) the Cubs Business and (ii) any other
business or activity incidental thereto, provided such business or activity does not conflict with
or violate the terms of the Loan Documents, the Note Documents, or the MLB Rules and
Regulations. Subject to the limitations set forth in Sections 1.7, 1.9, and 3.5 the Company shall
have all the powers necessary or convenient to accomplish such purposes of the Company or
consistent with the furtherance thereof.

(b) Subject to Section 9.1, the Company shall have perpetual existence.

(c) Notwithstanding anything to the contrary in this Agreement (including,
without limitation, Sections 8.1(c) and 8.1(d)), the Company is authorized to execute, deliver,
and perform all of its obligations under or in connection with the Obligations, the Credit
Agreement, the Note Purchase Agreement, and the other Loan Documents and Note Documents
(subject in all events to Section __ of the Credit Agreement and all similar provisions in any
Loan Document or Note Document to which the Company is a party), including, without
limitation, any prepayment or repayment of the Obligations required under the Credit
Agreement, the Note Purchase Agreement, or the other Loan Documents or Note Documents and
any foreclosure upon or disposition of the Company’s assets undertaken in connection with the
Secured Parties’ exercise of remedies thereunder, regardless of whether any of the foregoing
gives rise to an obligation to make a payment under the Tax Matters Agreement.
Notwithstanding anything to the contrary in this Agreement (including, without limitation,
Sections 8.1(c) and 8.1(d)), the Act or any applicable law, rule or regulation, the Company (and
any Officer or Director on behalf of the Company) may enter into and perform the Credit
Agreement, the Note Purchase Agreement, and any other Loan Document or Note Document
(subject in all events to Section __ of the Credit Agreement and all similar provisions of any
other Loan Document or Note Document to which the Company is a party) and any and all other
documents, agreements, certificates or financing statements contemplated thereby or related
thereto, all without any further act, vote or approval of any Director or Member of the Company
or any other Person (except as expressly provided in Section 3.5). The existence of any other
provision of this Agreement that may conflict with or be inconsistent with this Section 1.5(c)
shall not impair or affect the authorization of the Company or any Director, Member or Officer
of the Company from performing the Company’s obligations under the Loan Documents or Note
Documents (including, without limitation, repayment or prepayment of the Obligations as and
when required under the applicable Loan Documents or Note Documents). The foregoing
authorization shall not be deemed a restriction on the powers of the Board to enter into other
agreements on behalf of the Company.

(d) | The Members further expressly acknowledge and agree that (i) the
Company may not engage in any business or activity other than as set forth in Sections 1.5(a)
and 1.5(c) above, and (ii) for so long as any of the Obligations are outstanding, the Company
may not incur any Indebtedness except to the extent permitted under the Credit Agreement, the

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Note Purchase Agreement, and any other Loan Document or Note Document (subject in all
events to Section __ of the Credit Agreement and all similar provisions of any other Loan
Document or Note Document to which the Company is a party).

Section 1.6 Liability of the Members Generally. Except as otherwise expressly
provided in this Agreement or the Act, no Member (or former Member) shall be obligated to
make any contribution of capital to the Company or have any liability for the debts and
obligations of the Company. This Section 1.6 is in furtherance of, and not in limitation of,
Section 18-303(a) of the Act.

Section 1.7. Compliance with MLB Rules and Regulations.

(a) Notwithstanding anything to the contrary herein (other than Section 3.5),
each Member (solely in its capacity as a member of the Company) and the Company
acknowledge that the Club, the Company and its Subsidiaries, this Agreement, and the rights and
obligations of the parties hereunder are subject to all MLB Rules and Regulations, which, among
other things, require that certain Major League Baseball Entities must consent to sales, transfers,
assignments, gifts or bequests, grants of security interests, pledges, encumbrances and other
transactions involving the ownership of the Club or the Company or its Subsidiaries, in each case
to the extent set forth and described in the MLB Rules and Regulations. Any such sale, transfer,
assignment, gift or bequest, grant of a security interest, pledge, encumbrance or other transaction
involving the ownership of the Club or the Company or its Subsidiaries shall be subject to, and
made in accordance with, the MLB Rules and Regulations and, to the extent any such transaction
requires the consent of any of the Commissioner or any Major League Baseball Entity pursuant
to the MLB Rules and Regulations, such transaction shall be null and void ab initio unless all
applicable consents required pursuant to the MLB Rules and Regulations are obtained in advance
pursuant to the requirements of the MLB Rules and Regulations. Each Member (solely in its
capacity as a member of the Company) acknowledges that the preceding sentence may, to the
extent set forth in the MLB Rules and Regulations, apply to any proposed transfer of all or any
portion of any interest in the Company, including, without limitation, such Member’s economic

rights.

(b) To the extent there is any conflict between the terms hereof (other than
Section 3.5) and the MLB Rules and Regulations, the MLB Rules and Regulations shall govern
such conflict. Each Member shall, and shall cause its Affiliates to, at all times comply with the
MLB Rules and Regulations.

(c) Whenever MLB Approval is required under the applicable MLB Rules
and Regulations, such approval may be granted or withheld at the sole and absolute discretion of
the applicable Major League Baseball Entity or the Commissioner and may be subject to such
terms and conditions as Major League Baseball shall, in its sole and absolute discretion, impose.

(d) The Members acknowledge that (i) under the MLB Rules and Regulations,
the Club is obligated to designate a single individual who is accountable for the operation of the
Club and for the compliance with all MLB Rules and Regulations and who is the single
individual with ultimate authority and responsibility for making all Club decisions, including,
without limitation, all decisions relating to the participation of TeamCo as a member of Major

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League Baseball (the “MLB Control Person”) and (ii) Section 5.2 of the TeamCo LLC
Agreement is the operative provision pursuant to which the MLB Control Person for the Club
shall be so designated; provided, however, that the MLB Control Person shall not take, or cause
the Company to take, any action set forth in Section 4.2(b) unless such action is necessitated by
the MLB Control Person’s obligation to comply with MLB Rules and Regulations.

Section 1.8 Issuance of New MLB Rules and Regulations.

(a) The Ricketts Member, the Bidder Directors and their Affiliates (i) shall
not solicit or encourage any Major League Baseball Entity to issue any MLB Rules and
Regulations that, without regard to Section 1.7(b), would conflict with or supersede the terms of
this Agreement, and (ii) will use reasonable best efforts to cause any Major League Baseball
Entity to waive or limit the scope of any MLB Rules and Regulations that are issued after the
date hereof that, without regard to Section 1.7(b), would conflict with or supersede the terms of
this Agreement.

Section 1.9 Certain Covenants. Notwithstanding any provision contained in this
agreement to the contrary, during the period that any Obligations are outstanding, none of the
Board, any officer, or any Member shall permit the Company to directly or indirectly:

(a) Own or acquire any property or any other assets other than (i) the Cubs
Business and (ii) real, personal, and intangible property incidental to the Cubs Business and
necessary to carry out the purposes of the Company described in Section 1.5(a);

(b) Engage in any business, other than as specified in Section 1.5(a);

(c) Incur any Indebtedness for borrowed money or other liabilities, contingent
or otherwise, other than as expressly permitted by the Credit Agreement and the Note Purchase
Agreement;

(d) Guarantee or otherwise hold itself or its credit (expressly or implicitly) out
to be responsible for the debts or obligations of any Affiliate or any other Person or take or omit
to take any action that could reasonably be interpreted to make the Company responsible for the
debts of any Affiliate or any other Person, in each case other than as expressly permitted by
Section 6.04 of the Credit Agreement and Section __ of the Note Purchase Agreement;

(e) Acquire obligations or securities of its Members, Directors or other
Persons;

(f) Pledge its assets for the benefit of any other Person or make any loan or
advance to any Affiliate or other Person, other than as expressly permitted by Section 6.04 of the
Credit Agreement and Section __ of the Note Purchase Agreement;

(g) Except as expressly permitted by Section 6.09 of the Credit Agreement
and Section __ of the Note Purchase Agreement, enter into any transaction, contract or
agreement with any of its Affiliates, any of its constituent parties or any Affiliate of any
constituent party, except upon terms and conditions that are intrinsically fair, commercially
reasonable, and substantially similar to those that would be available on an arm’s-length basis

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with third parties, and all such transactions, contracts, and agreements will be entered into in the
name of the entities that are parties thereto and will be formally documented in writing;

(h) Except as expressly permitted by the Credit Agreement and the Note
Purchase Agreement, commingle its monies, funds, other assets, and liabilities with those of any
Affiliate or constituent party or any Affiliate of any constituent party or any other Person;

(1) Except as expressly permitted by the Credit Agreement and the Note
Purchase Agreement, amend, modify or otherwise change or suffer any constituent party to
amend, modify or otherwise change the provisions of its Certificate or this Agreement if such
amendment, modification or other change could materially adversely affect any of the
requirements of the Credit Agreement or the Note Purchase Agreement applicable to it;

(j) Except as expressly permitted by the Credit Agreement and the Note
Purchase Agreement, engage in any dissolution, winding up, termination, liquidation,
consolidation or merger of the Company (in whole or in part), any sale, transfer, or other
disposition of all or substantially all of the Company’s assets, or any issuance of ownership
interests in the Company or any change in the Company’s legal structure;

(k) Except as expressly permitted by the Credit Agreement and the Note
Purchase Agreement, make or permit to remain outstanding any loan or advance to, own or
acquire any stock or securities of, make any equity or similar investment in, or hold any debt
security of, any Affiliate or other Person;

(1) Form, acquire or hold any subsidiary (whether corporate, partnership,
limited liability company or other form of entity), other than any Subsidiary (as defined in the
Credit Agreement);

(m) Except as expressly permitted by the Credit Agreement and the Note
Purchase Agreement, permit the obligations of the Company to be guaranteed by any Affiliate or
any other Person; and

(n) Fail to do any of the following:

(i) remain solvent and pay its debts and liabilities (including
employment and overhead expenses) from its assets as and when the same shall become due;

(ii) observe all appropriate limited liability company formalities;

(iii) correct any known misunderstanding regarding the Company’s
separate identity;

(iv) | maintain books and records, bank accounts, financial statements,
and other entity documents separate from those of any other Person (including its Affiliates, any
constituent party and any Affiliate of any constituent party) and, to the extent required as a
matter of law or otherwise determined to be in the best interests of the Company, file its own tax
returns;

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(v) hold itself out to the public as a legal entity separate and distinct
from any other Person (including any of its Affiliates, any of its constituent parties or any
Affiliate of any constituent party) and not as a division or part of any Affiliate, conduct business
and hold its own assets solely in its own name, and act solely through its own managers,
members, authorized officers and agents (as set forth in this Agreement);

(vi) maintain adequate capital for the normal obligations reasonably
foreseeable in a business of its size and character and in light of its contemplated business
operations;

(vii) maintain its assets in such a manner that it will not be costly or
difficult to segregate, ascertain or identify its individual assets from those of any Affiliate or
constituent party or any Affiliate of any constituent party or any other Person;

(viii) use separate stationery, purchase orders, invoices and checks (and
not those of any Affiliate or any other Person);

(ix) to the extent the Company and any other Person jointly contract or
do business with other Persons or share overhead expenses, allocate fairly, appropriately, non-
arbitrarily, and reasonably any costs and expenses incurred between or among such entities, with
the result that each such entity bears its fair share of all such costs and expenses;

(x) pay its liabilities (including, without limitation, salaries of its own
employees) only from its own funds, and maintain a sufficient number of employees in light of
its contemplated business operations;

(xi) preserve the existence of the Company as an entity duly formed,
validly existing and in good standing under the laws of the State of Delaware; and

(xii) pay or bear the cost of the preparation of its stand-alone financial
statements, and have such financial statements audited annually by an independent certified
public accounting firm. The Company’s financial position, assets, results of operations and cash
flows may be included in consolidated financial statements of any Person in accordance with
GAAP or as required by Major League Baseball; provided, however, that (i) appropriate notation
will be made on such consolidated financial statements to indicate the separateness of the
Company and such Affiliates and to indicate that its assets and credit are not available to satisfy
the debts and other obligations of such Affiliates or any other Person and (ii) the assets of the
Company will also be listed on its own separate balance sheet.

Failure of the Company, or of any Member, Director, or Officer on behalf of the Company, to
comply with any of the foregoing covenants or any other covenants contained in this Agreement
shall not affect the status of the Company as a separate legal entity or the limited liability of any
Member, Director, or Officer of the Company.

ARTICLE 2
Capitalization

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Section 2.1. Members and Percentage Shares. Exhibit C sets forth a list of all
Members and the Percentage Shares and Common Capital held by the Members as of the date
hereof after giving effect to the transactions described in Section 1.3. Exhibit C shall be updated
from time to time to reflect changes in the Members or their respective Company Interests, each
as permitted by this Agreement.

Section 2.2 Capital Requirements; Capital Contributions.

(a) Except as provided in Section 1.3(a) and Section 1.3(b), no Member shall
be obligated to make Capital Contributions to the Company. If the Board determines, after
taking into account any loan required to be made to the Company pursuant to the Ricketts
Subordinated Loan Commitment Agreement, in its reasonable discretion that additional funds
(the “Required Additional Funds”) are needed to pay, or to create reserves to pay, any of the
Company’s debts, operating expenses and/or other obligations, or for purposes of capital
investment or expansion or any other business reason, the Board shall endeavor to obtain debt
financing from third parties on a basis that is (x) nonrecourse to the Members in the amount of
the Required Additional Funds and (y) in compliance with the Loan Documents, the Note
Documents, and MLB Rules and Regulations. For the avoidance of doubt, the term “financing”
as used in this Section 2.2(a) shall not include the issuance of any instrument or security
convertible into, or exchangeable for, a capital interest in the Company. If the Board determines
in good faith that third party financing in an amount equal to the Required Additional Funds
cannot be reasonably obtained by the Company (with the amount of the Required Additional
Funds that cannot be funded through such debt financing being referred to as the “Required
Funding’’) and, if the Board determines to obtain such funds through capital contributions, then
the Board shall give written notice (an “Additional Capital Notice”) to each such Member
requesting that each Member make an additional Capital Contribution equal to such Member’s
Percentage Share of the Required Funding. The Additional Capital Notice shall be delivered to
each Member at least thirty (30) Business Days prior to the date on which such Capital
Contributions are due. Each Additional Capital Notice shall: (i) set forth the total amount of the
additional Capital Contributions requested; (ii) request that each Member contribute an amount
equal to its Percentage Share of the Required Funding (the “Requested Contribution’); (iii) set
forth the Company FMV determined by the Board as described below, and (iv) set forth the date
by which the Members must make their Requested Contribution if they so elect. Each Member
shall have the option, but not the obligation, to make a capital contribution in an amount equal to
or less than its Requested Contribution. If a Member elects to make a capital contribution
pursuant to an Additional Capital Notice such Member must provide written notice of such
election to the Company within twenty (20) Business Days of receipt of the Additional Capital
Notice.

(b) If any Member does not make a capital contribution in the full amount of
its Requested Contribution, then within twenty-five (25) Business Days of the date of the
Additional Capital Notice the Company shall send written notice thereof to all of the other
Members who elected to make the full amount of their Requested Contribution (the “Fully
Participating Members”), which notice shall set forth the total amount of additional Capital
Contributions remaining to be funded. Fully Participating Members shall have the right, but not
the obligation, to make an additional capital contribution in an amount equal to the portion of the
Required Funding that was not funded by the other Members pursuant to Section 2.2(a) above

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(the “Unfunded Required Funding”). If more than one Fully Participating Member elects to
make additional capital contributions pursuant to the prior sentence which in the aggregate
exceed the Unfunded Required Funding, then each such Fully Participating Member shall
contribute an amount equal to the lesser of (i) the amount that the Fully Contributing Member
elected to contribute and (ii) the product of (x) the Unfunded Required Funding multiplied by
(y) such Fully Participating Members Percentage Share divided by the sum of the Percentage
Shares of such Fully Participating Members (the “Pro Rata Share”) and any remaining portion
of the Unfunded Required Funding shall be allocated among the Fully Participating Members
that elected to contribute more than their Pro Rata Share in proportion to the Percentage Shares
(until the entire amount of the Unfunded Required Funding has been allocated to such Fully
Participating Members). Such additional capital contributions shall be made within ten (10)
Business Days of the date on which the original Capital Contributions were due. If, after
following the process set forth in Section 2.2(a) and 2.2(b), the Company has not received
Capital Contributions from its Members in an amount equal to the Required Funding then, for a
period of ninety (90) days thereafter, the Company may seek to obtain additional capital
contributions from other persons, on the same terms and conditions as were offered to the
Members, in the amount of such shortfall. If the Company seeks any capital contributions after
such ninety (90) day period, or if the Company changes the terms and conditions for the issuance
of such capital contributions, then the Company will again re-offer to the Members, pursuant to
Sections 2.2(a) and 2.2(b), the opportunity to make such capital contributions.

(c) If each Member funds the full amount of its Requested Contributions, then
no adjustments shall be made to the Members’ relative Percentage Shares. If any Member does
not fund the full amount of such Member’s Requested Contribution, then each Member’ s
Percentage Share shall be adjusted to reflect a change to each Members’ Company Interest, with
the new Percentage Share of each Member (including any Persons admitted as new Members
after making the additional Capital Contribution) being equal to:

(Member’s initial Percentage Share * Company FMV) + Member’s additional Capital Contribution
(Company FMV + sum of additional Capital Contributions)

“Company FMV” means the Fair Market Value of all the Company’s assets
reduced by all of the Company’s liabilities, expenses, contingencies, obligations, indemnities,
and undertakings, determined as of the date of the additional Capital Contribution but prior to
giving effect to any additional Capital Contribution. Company FMV shall be determined in good
faith by the Board (subject to Section 7.5); provided, however, that if the aggregate amount of
the Required Funding as set forth in the Additional Capital Notice does not exceed $20 million,
the Fair Market Value of all the Company’s assets shall be deemed to be the difference between
(i) the product of the EBITDA of the Company for the four full calendar quarters ending
immediately before the delivery of the Additional Capital Notice, multiplied by (ii) the greater of
(A) 18, minus the number of full 12-month periods between the Closing Date and the date of
delivery of the Additional Capital Notice, and (B) 10.

(d) Except as provided in Section 2.2(b), the Company and the Board are

expressly prohibited from soliciting or accepting Capital Contributions from non-Member
Persons. Prior to issuing any security that is convertible into or exchangeable for Company

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Interests the Company must first comply with the provisions of this Section 2.2, the terms of the
Loan Documents and the Note Documents, and all MLB Rules and Regulations.

Section 2.3 Resignation; Withdrawal. So long as any Obligation remains outstanding,
no Member shall have the right to resign or withdraw from the Company (except for a
resignation or withdrawal under Section 7.7(a)(iv) that results from a Disposition of a Company
Interest to any Person (other than the Company) that is permitted under Section 7.1) or to
demand a return of its Capital Contribution. If a Member is permitted to resign pursuant to this
Section 2.3, and such Member was the sole Member of the Company, an additional member of
the Company shall be admitted to the Company, upon its execution of an instrument signifying
its agreement to be bound by the terms and conditions of this Agreement, which instrument may
be a counterpart signature page to this Agreement. Such admission shall be deemed effective
immediately prior to the resignation and, immediately following such admission, the resigning
Member shall cease to be a member of the Company.

ARTICLE 3
Management and Operations of the Company

Section 3.1 Management of the Company’s Affairs. Subject to Sections 1.5 and 1.9,
and subject to the procedure set forth in Section 3.5 with respect to obtaining consent for the
taking of an Insolvency Action after a decision has been made by the Board and/or the MLB
Control Person to pursue such an action, and except as otherwise expressly provided herein,

(a) the management of the Company is vested exclusively in the Board, (b) the Board shall have
full and complete authority to manage and control the business and affairs of the Company and
to make all decisions and take all actions as it deems necessary or appropriate to accomplish the
purposes of the Company as set forth herein, all in accordance with the terms of this Agreement,
the Loan Documents, the Note Documents, the Tax Matters Agreement, and all MLB Rules and
Regulations, and (c) no Member, by virtue of its status as a Member, shall have any management
power over the business and affairs of the Company.

Section 3.2 Board. There is hereby established a Board of the Company (the
“Board”). The initial number of members of the Board (each member of the Board is referred to
herein as a “Director’’) shall be at least two (2) but not more than twenty (20) of whom up to
nineteen (19) shall be appointed by Ricketts Member (the “Bidder Directors”) and one (1) shall
be appointed by the Tribune Members (a “Tribune Director”). The initial Directors are set
forth on Exhibit B. The Member(s) entitled to appoint any Director may, at any time and from
time to time, change the Directors appointed by such Member(s), provided, however, that the
Tribune Members may not replace the Tribune Director with any Person who has not been
approved by a majority of the Bidder Directors. An individual may serve as a Director
notwithstanding any other position he or she may hold with the Company. Notwithstanding the
foregoing, the Board may increase the number of Bidder Directors, provided, however, that if the
number of Bidder Directors exceeds twenty (20), then the Tribune Members shall have the right
to appoint an additional Tribune Director; provided further that the Tribune Members shall not
have the right to appoint any Director for any period of time during which the Tribune Members’
aggregate Percentage Share is less than three percent (3%).

Section 3.3. Meetings and Voting.

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(a) The Board shall hold meetings on such specific dates, and at such times,
as shall be determined by a majority of the Directors, upon at least two (2) days advance written
notice to all directors. Any Director may waive notice to such Director of a meeting of the
Board, in writing, before, at or after the meeting. The attendance of any Director at a meeting of
the Board shall constitute a waiver of notice to such Director of such meeting, except when the
Director attends a meeting for the express purpose of objecting, at the beginning of the meeting,
to the transaction of any business on the grounds that the meeting is not lawfully called or
convened. Directors may participate in any meeting of the Board by means of conference
telephone or similar communications equipment by means of which all persons participating in
the meeting can hear each other simultaneously, and such participation in a meeting will
constitute presence in person at such meeting.

(b) The presence of a majority of the Directors shall constitute a quorum at all
meetings of the Board.

(c) Subject to Section 3.5, action may be taken by the Board by approval of a
majority of all Directors present at any meeting at which a quorum exists.

(d) Subject to Section 3.5, any action may be taken by the Board without a
meeting thereof and without prior notice to the Directors if the approval for such action is set
forth in one or more written consents executed by a majority of the Directors. If any written
consents are provided to any Director (or to members of any committee formed pursuant to
Section 3.3(f)) for execution, a copy of such written consent (and any related materials) shall at
the same time be provided to all Directors. In addition, within two (2) Business Days of
execution, a copy of all executed written consents shall be provided to all Directors, including
any Director who did not execute such written consent. Written consents shall be filed with the
minutes of the proceedings of the Board; provided, that, the failure to file, or any delay in filing,
any such written consent shall not affect the validity of any action in fact taken by the Board by
such written consent.

(e) Any Director may appoint a proxy (including any Officer) to act on his or
her behalf and to vote in his or her stead at any meeting of the Board or to execute any written
consent if he or she delivers notice thereof, signed by the Director, to the Company. Every proxy
shall be revocable by the Director; provided, however, that any revocation of a proxy shall not
invalidate or otherwise affect actions taken under such proxy prior to revocation.

(f) The Board may in its sole discretion appoint one or more committees
consisting of such members of the Board, Officers or other Persons as shall be designated by the
Board, which committee(s) shall have and may exercise such (or all) of the powers and authority
of the Board with respect to the management of the business and affairs of the Company or as
provided under this Agreement (other than, for the avoidance of doubt, as set forth in Section
3.5) as shall be provided in a written resolution of the Board. Where the Board so delegates any
authority provided to it under this Agreement, the relevant reference to the Board in this
Agreement describing such authority shall be deemed to be a reference to the committee(s),
Officers or Person(s) to which such authority is delegated. Any committee designated pursuant
to this Section 3.3(f) shall fix its own rules or procedures and shall meet at such times and at
such place or places as may be provided by such rules, or by resolution of such committee or

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resolution of the Board. Such committee(s) may take action by written consent in the same
manner as provided in paragraph (d) above. If a Tribune Director is not a member of any such
committee, then the Tribune Director shall (i) receive written notice of any meeting or other
proceeding of such committee at the same time such notice is provided to members of such
committee, (ii) receive any other materials or reports provided to members of such committee at
the same time such materials or reports are provided to such members, and (iii) have the right to
attend all meetings of such committee.

(g) The Board and each committee shall keep reasonably detailed minutes of
its activities and proceedings. Copies of the minutes and written consents of the Board and each
committee shall be provided to each Director on a timely basis or within two (2) Business Days
upon request.

(h) Subject to the provisions of this Agreement, the Board may regulate its
proceedings (and such committee(s) may regulate the proceedings of such committee) as the
Board (or such committee(s)) reasonably determines.

Section 3.4  Offficers.

(a) Powers and Duties. The Board may from time to time appoint officers of
the Company (the “Officers”). The Officers shall have such titles and authority as the Board
shall determine from time to time.

(b) Titles and Number. The Officers may (without limitation) include a Chief
Executive Officer, Chief Financial Officer, one or more Vice Presidents, a Secretary, a Treasurer
and one or more Assistant Secretaries and Assistant Treasurers. Any person may hold two or
more offices. Each Officer shall perform such duties and exercise such other powers as are
commonly incident to a similarly titled officer of a corporation; provided, however, that any term
of this Agreement (other than the terms of Sections 1.7 and 3.5) to the contrary notwithstanding,
each Officer shall be subject to the control of the Board and the authority and responsibilities of
each Officer shall be subject to the limitations, if any, imposed by any agreement between the
Company and such Officer or any determination by the Board.

(c) Appointment and Term of Office. The Officers shall be appointed at such
time and for such term as the Board shall determine. Any Officer may be removed, with or
without cause, only by the Board. Vacancies in any office may be filled only by the Board.

Section 3.5 Review of Insolvency Actions. Notwithstanding any other provision of
this Agreement or any other agreement, instrument or document to the contrary, upon the Board
(as managers of an entity that owns a Major League Club subject to all MLB Rules and
Regulations), or the MLB Control Person (as the “control person” of a Major League Club under
the MLB Rules and Regulations), making a decision to take any Insolvency Action, and the
Tribune Members approving such decision pursuant to Section 4.2(b), neither the Board nor the
MLB Control Person shall take such Insolvency Action without first (i) informing the Office of
the Commissioner of Baseball of such decision and (ii) obtaining the prior written consent of the
Office of the Commissioner of Baseball. The Company shall not, and shall not have the power or
authority and shall not be authorized to, take any Insolvency Action absent the written approval

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of the Tribune Members pursuant to Section 4.2(b) and the written consent of the Office of the
Commissioner of Baseball. All of the Members shall be deemed to have consented to the
provisions of this Section by virtue of the Member’s purchase, holding or other acquisition of
interests in the Company, and no further act or deed of any Member shall be required to evidence
such consent. When acting under this Section 3.5, the Office of the Commissioner of Baseball
shall not be deemed to be engaged in the management of the Company or owe any obligation to
the Members, the Company, or any creditor of the Members or the Company.

ARTICLE 4
Members

Section4.1 Certain Restrictions. No Member may, without the written consent of the
other Member(s), unilaterally dissolve, terminate, liquidate or wind up the affairs of the
Company, except to the extent expressly permitted or required under Article 9.

Section 4.2. Powers of Members.

(a) Subject to Section 3.5, the Members shall have all rights and powers
granted to the Members pursuant to the express terms of this Agreement, provided they must
comply with all MLB Rules and Regulations. The approval or consent of the Members shall not
be required in order to authorize the taking of any action by the Company, unless and then only
to the extent that, (1) this Agreement shall expressly provide therefor, (ii) such approval or
consent shall be required by non-waivable provisions of the Act or (iii) the Board in its
reasonable discretion shall determine that obtaining such approval or consent would be
appropriate or desirable. The Members, as such, shall have no power to bind the Company.
Except as may otherwise be provided by the Act or this Agreement, and subject to Section 3.5,
the affirmative vote of the Members holding a majority of Percentage Shares shall be required
for action by the Members.

(b) Notwithstanding anything to the contrary (but subject to the provisions of
Sections 1.5, 1.7, 1.9, and 3.5), the Company shall not, and shall not permit any of its
Subsidiaries to, take any of the following actions, without the prior written approval of the
Tribune Members:

(i) declaring or making any distributions to a Member or Members
other than (x) the Special Distribution and (y) distributions made in accordance with Article 5
and Article 7;

(ii) directly or indirectly redeeming, purchasing or otherwise acquiring
any Company Interests or other equity securities in the Company other than a redemption of the
Tribune Members’ Company Interests in accordance with Article 7;

(iii) altering a Member’s interest in Net Income, Net Loss and other
items of income, gain, loss and deduction, or any distribution (except as provided in Section 2.2):

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(iv) without limiting Section 3.5 above, voluntarily filing a bankruptcy
petition or similar proceeding for the Company or any Subsidiary of the Company;

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(v) amending the certificate of formation of the Company or this
Agreement or waiving or failing to enforce any rights of the Company under this Agreement;

(vi) entering into, amending, modifying or supplementing any
agreement (other than any Loan Document or Note Document) with any of the Members of the
Company or any of their respective Affiliates (including but not limited to the Ricketts
Subordinated Loan Commitment Agreement) or waiving or failing to enforce any of the
Company’s rights under any of such agreements, or engaging in any transaction of any kind with
a Member or any of its Affiliates, whether or not in the ordinary course of business (including
the purchase, sale, lease or exchange of any property or the rendering of any service) or making
any payment of any type to any Member or any of its Affiliates, provided that the following shall
not require the Tribune Member’s prior consent: (1) payments pursuant to, and in accordance
with the terms of, Articles 1, 5, 7 or 9, (2) transactions that are on fair and reasonable terms that
are no less favorable to the Company (or its Subsidiaries) than those that would be obtained in an
arms’ length transaction between unrelated parties, (3) entering into and complying with the
terms of the Transition Services Agreement entered into in connection with the Formation
Agreement and (4) entering into and complying with the terms of the Ricketts Subordinated
Loan Commitment Agreement;

(vii) during the Protected Period (except for entering into the Loan
Documents and the Note Documents and incurring the Obligations thereunder), borrowing
money or incurring Indebtedness on behalf of the Company unless (1) such Indebtedness is
subordinated to or pari passu with (including, but not limited to, with respect to maturity, priority
of payment and rights to collateral) the Senior Debt Financing or any Refinancing Debt with
respect to the Senior Debt Financing and the aggregate amount of Indebtedness that is senior
(including, but not limited to, with respect to maturity, priority of payment and rights to
collateral) to the Subordinated Debt Financing does not exceed the original principal amount of
the Senior Debt Financing or (2) such Indebtedness is subordinated to or pari passu with
(including, but not limited to, with respect to maturity, priority of payment and rights to
collateral), on terms reasonably acceptable to the Tribune Members, the Subordinated Debt
Financing and any Refinancing Debt with respect to the Subordinated Debt Financing;

(viii) during the Protected Period, except as provided in Section 1.5(c),
borrowing money or incurring Indebtedness on behalf of any Subsidiary unless such
Indebtedness is allocable under the rules of Treasury Regulations Section 1.163-8T to capital
expenditures with respect to the property owned by such Subsidiary;

(ix) except as provided in Section 1.5(c), permitting the Company or
any of its Subsidiaries to directly or indirectly guarantee or otherwise become liable for the
Indebtedness of another Person;

(x) issuing or selling to an Affiliate of a Member, or authorizing or
entering into any agreement with an Affiliate of a Member, providing for the issuance or sale of
any interest in any Subsidiary or any securities convertible into or exercisable or exchangeable
for, any interest in a Subsidiary;

(xi) agreeing or committing to do any of the foregoing.

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Section 4.3. Meetings of Members.

(a) Meetings; Notice of Meetings. Meetings of the Members, including any
special meeting, may be called by the Board or by Members holding a majority of the Percentage
Shares from time to time. Notice of any such meeting shall be given to all Members not less
than ten (10) nor more than thirty (30) Business Days prior to the date of such meeting and shall
state the location, date and hour of the meeting and the agenda for the meeting. Meetings shall
be held at the location (within or without the State of Delaware), date and hour set forth in the
notice of the meeting. Members may participate in any meeting of the Members by means of
conference telephone or similar communications equipment by means of which all persons
participating in the meeting can hear each other simultaneously, and such participation in a
meeting will constitute presence in person at such meeting.

(b) Waiver of Notice. No notice of any meeting of Members need be given to
any Member that submits a signed waiver of notice, whether before or after the meeting. Neither
the business to be transacted at, nor the purpose of, any regular or special meeting of the
Members need be specified in a written waiver of notice. The attendance of any Member at a
meeting of Members shall constitute a waiver of notice of such meeting, except when the
Member attends a meeting for the express purpose of objecting, at the beginning of the meeting,
to the transaction of any business on the ground that the meeting is not lawfully called or
convened.

(c) Quorum. Except as otherwise required by the Delaware Act or this
Agreement, the presence in person or by proxy of the holders of record of a majority of the
Percentage Shares shall constitute a quorum for the transaction of business at such meeting.

(d) Voting. If (i) the Board has fixed a record date, every holder of record of
Company Interests entitled to vote at a meeting of Members or to consent in writing in lieu of a
meeting of Members shall be entitled to vote pro rata in accordance with their respective
Percentage Share, in such Member’s name at the close of business on such record date or (ii) no
record date has been so fixed, every holder of record of such Company Interests entitled to vote
at a meeting of Members or to consent in writing in lieu of a meeting of Members shall be
entitled to vote pro rata in accordance with their respective Percentage Share, in such Member’s
name on the close of business on the day next preceding the day on which notice of the meeting
is given or the first consent in respect of the applicable action is executed and delivered to the
Company, or, if notice is waived, at the close of business on the day next preceding the day on
which the meeting is held. Except as otherwise required by the Act or this Agreement, but
subject to Section 3.5, the vote of Members holding a majority of Percentage Shares at any
meeting at which a quorum is present shall be sufficient for the transaction of any business at
such meeting.

(e) Proxies. Each Member may authorize any Person to act for such Member
by proxy on all matters in which a Member is entitled to participate, including waiving notice of
any meeting, or voting or participating at a meeting. Every proxy must be signed by the Member
or such Member’s attorney-in-fact. No proxy shall be valid after the expiration of three years
from the date thereof unless otherwise provided in the proxy. Every proxy shall be revocable at
the pleasure of the Member executing it unless otherwise provided in such proxy; provided,

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however, that such right to revocation shall not invalidate or otherwise affect actions taken under
such proxy prior to such revocation. The Tribune Members shall at all times authorize a single
Person to act by proxy for the Tribune Members. The Tribune Members each hereby appoint the
Tribune Director as their proxy pursuant to this Section 4.3(e) (the “Tribune Proxy’’), who shall
continue to be the Tribune Members’ proxy until the Tribune Members replace such Tribune
Proxy by providing written notice to the Company signed by each of the Tribune Members, such
change effective as of the date such notice has been deemed to have been given in accordance
with Section 11.5 hereof. The Tribune Proxy shall have the authority to make all decisions and
determinations and to take all actions required or permitted hereunder on behalf of each of the
Tribune Members, and any such action, decision or determination so made or taken shall be
deemed the action, decision or determination of each Tribune Member, and any notice,
communication or document required to be given hereunder shall be deemed so given if given to
the Tribune Member. A decision, act, consent or instruction of the Tribune Proxy will constitute
a decision of all Tribune Members and will be final, binding and conclusive upon each Tribune
Member.

(f) Organization. Each meeting of Members shall be conducted by such
Person as the Board may in its sole discretion designate from time to time.

(g) Action Without a Meeting. Any action that may be taken at any meeting
of the Members may be taken without a meeting if, subject to Section 3.5, the approval for such
action is set forth in a written consent executed by Members owning a majority of the Percentage
Shares, which shall be filed with the minutes of the proceedings of Members. When written
consents are provided to any Member for execution, a copy of such written consent (and any
related material) shall at the same time be provided to all Members. In addition, within two (2)
Business Days of execution, a copy of all executed written consents shall be provided to all
Members, including any Member who did not execute such written consent.

Section 4.4 Member Status. Notwithstanding Section 18-304 of the Act, a Member
shall not cease to be a member, or lose any of its rights hereunder, if the Member (i) makes an
assignment for the benefit of creditors, (ii) is adjudged bankrupt or insolvent, (iii) files or
answers a petition seeking any reorganization, arrangement, dissolution or similar relief under
any statute, law or regulation, (iv) seeks, consents to or acquiesces in the appointment of a
trustee, receiver or liquidator or (v) engages in, or is subject to, any of the other actions that
could result in a member losing its status as such pursuant to Section 18-304 of the Act.

ARTICLE 5
Distributions and Allocations

Section 5.1 Capital Accounts.

(a) A Capital Account shall be maintained for each Member in accordance
with the rules of Treasury Regulations Sections 1.704-1(b)(2)(iv). The Capital Account of each
Member shall be credited with: (i) the amount of any Capital Contribution made in cash by such
Member; (11) the Agreed Value (net of any liabilities the Company is considered to assume or
take subject to under Section 752 of the Code) of any Capital Contribution made in property
other than cash by such Member; (iii) allocations to such Member of Net Income pursuant to

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Section 5.2; and (iv) any other item required to be credited for proper maintenance of capital
accounts by the Treasury Regulations under Section 704(b) of the Code. A Member’s Capital
Account shall be debited with: (w) the amount of any cash distributed to such Member; (x) the
Agreed Value (net of liabilities that such Member is considered to assume or take subject to
under Section 752 of the Code) of any property other than cash distributed to such Member;

(y) allocations to such Member of Net Loss pursuant to Section 5.2; and (z) any other item
required to be debited for proper maintenance of capital accounts by the Treasury Regulations
under Section 704(b) of the Code. Each Member’s Capital Account shall be adjusted as required
by Treasury Regulation Section 1.704-1(b)(2)(iv)(f) to reflect a revaluation of Company Property
at Agreed Value upon the occurrence of any event described in Treasury Regulation

Section 1.704-1(b)(2)(iv)(f)(5)(i) or (i) based upon the manner in which gain or loss upon a sale
of all the assets of the Company for Agreed Value would be allocated.

(b) In the event that any Company Interest is transferred in accordance with
this Agreement, the transferee(s) of such Company Interest shall succeed to all of the transferor’s
Capital Account with respect to such transferred Company Interest. For purposes of Section 5.2,
any allocations theretofore made to a transferring Member with respect to a transferred Company
Interest shall be deemed to have been made to the transferee for purposes of making future
allocations.

Section 5.2 Book Allocations.

(a) Allocations of Net Income and Net Loss.

(i) Net Income. Net Income for each fiscal year shall be allocated:

(1) First, in the same proportions as the aggregate Net Loss
(if any) for all previous years was allocated among the Members pursuant to Section
5.2(a)(11)(2), until the aggregate Net Income allocated to each Member pursuant to this Section
5.2(a)(i)(1) for such year and all previous fiscal years is equal to the aggregate Net Loss
allocated to such Member pursuant to Section 5.2(a)(1i)(2) for all previous fiscal years; and

(2) Thereafter, the balance, if any, to the Members in
proportion to their respective Percentage Shares.

(ii) Net Loss. Net Loss for each fiscal year shall be allocated:

(1) First, in the same proportions as the aggregate Net
Income (if any) for all previous fiscal years was allocated among the Members pursuant to
Section 5.2(a)(1)(2), until the aggregate Net Loss allocated to each Member pursuant to this
Section 5.2(a)(1i)(1) for such year and all previous years is equal to the aggregate Net Income
allocated to such Member pursuant to Section 5.2(a)(i)(2) for all previous fiscal years; and

(2) Thereafter, the balance, if any, to the Members in
proportion to their respective Percentage Shares.

(iii) In the event that the Percentage Shares of the Members shall
change pursuant to the terms of this Agreement, there shall be an interim closing of the books of

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the Company as of the close of the day of such change (the “Interest Change Date”). The Net
Income or Net Loss of the Company for the period ending on the Interest Change Date shall be
allocated to the Members in accordance with this Section 5.2(a) taking into account their
respective Percentage Shares in effect prior to the Interest Change Date. The Net Income or Net
Loss of the Company for any period commencing after the Interest Change Date shall be
allocated to the Members in accordance with this Section 5.2(a) taking into account their
respective Percentage Shares in effect after the Interest Change Date. Notwithstanding the
foregoing, if the Interest Change Date is not the last day of a month, Net Income or Net Loss of
the Company for the month in which the Interest Change Date occurs shall be prorated on a daily
basis between the portion of the month ending on the Interest Change Date and the remainder of
such month.

(b) Special Allocation Rules. Notwithstanding any other provision of this

Article 5:

(i) Nonrecourse Deductions. The Nonrecourse Deductions for each
fiscal year of the Company shall be allocated among the Members in accordance with their
respective Percentage Shares.

(ii) | Minimum Gain Chargeback. If there is a net decrease in Company
Minimum Gain or in Member Nonrecourse Debt Minimum Gain during a Company fiscal year,
each Member shall be specially allocated items of income and gain in accordance with Treasury
Regulations Section 1.704-2(f) and 1.704-2(i)(4). It is intended that this Section 5.2(b)(1i) shall
constitute a “minimum gain chargeback” described in Treasury Regulation Section 1.704-2(f)
and 1.704-2(i)(4).

(ii) Limitation on Loss Allocations and Qualified Income Offset. A
Member shall not be allocated items of loss or deduction to the extent such an allocation would
cause or increase a deficit Capital Account balance for such Member as of the close of any
taxable year in excess of the amount of such balance the Member is obligated or deemed
obligated to restore pursuant to Treasury Regulations Sections 1.704-1(b)(2)(ii)(c), 1.704-2(g)(1)
or 1.704-2(1)(5). In determining the Capital Account balance of a Member for this purpose,
adjustments, allocations and distributions described in Treasury Regulations Sections 1.704-
1(b)(2)(ii)(d)(4),(5) and (6) shall be taken into account. Any items of loss or deduction not
allocated to a member under this Section 5.2(b)(iii) shall be allocated first, to the remaining
Members with positive Capital Account balances (adjusted in accordance with the preceding
sentence and after adding back each Member’s share of Company Minimum Gain and Member
Nonrecourse Debt Minimum Gain determined pursuant to Treasury Regulations Sections 1.704-
2(g)(1) and 1.704-2(i)(5)), in proportion to, and to the extent of, such positive Capital Account
balances and thereafter, as provided in applicable Treasury Regulations. In the event that any
Member unexpectedly receives any adjustments, allocations or distributions described in
Treasury Regulation Section 1.704-1(b)(2)(ii)(d)(4),(5) or (6), which results in a negative Capital
Account balance in excess of any deficit balance which the Member is obligated or deemed
obligated to restore pursuant to Treasury Regulations Sections 1.704-1(b)(2)(ii)(c), 1.704-2(g)(1)
or 1.704-2(i)(5), items of Company income and gain (consisting of a pro rata portion of each
items of Company income, including gross income, and gain) shall be allocated to such Member
in an amount and manner sufficient to eliminate the excess deficit balance as quickly as possible.

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This Section 5.2(b)(iii) is intended to be a “qualified income offset” described in Treasury
Regulation Section 1.704-1(b)(2)(ii)(d) and is to be interpreted and applied in a manner
consistent therewith.

(iv) | Member Nonrecourse Deductions. Any Member Nonrecourse
Deductions for each fiscal year shall be specially allocated to the Member who bears the
economic risk of loss with respect to the Member Nonrecourse Debt to which such Member
Nonrecourse Deductions are attributable in accordance with Treasury Regulations Section 1.704-

2(i).

(v) Basis Adjustments. To the extent that an adjustment to the
adjusted tax basis of any Company Property pursuant to Code Section 734(b) or Code Section
743(b) is required, pursuant to Treasury Regulations Section 1.704-1(b)(2)(iv)(m)(2) or Treasury
Regulations Section 1.704-1(b)(2)(iv)(m)(4), to be taken into account in determining Capital
Accounts as a result of a distribution to a Member, the amount of such adjustment to the Capital
Accounts shall be treated as an item of gain (if the adjustment increases the basis of the
Company Property) or loss (if the adjustment decreases the basis of the Company Property), and
such gain or loss shall be allocated to the Members in accordance with Treasury Regulation
Section 1.704-1(b)(2)(iv)(m)(2) or Treasury Regulation Section 1.704-1(b)(2)(iv)(m)(4), as the
case may be.

(vi) Curative Allocations.

(1) Loss Limit Curative Allocations. The special allocation
set forth in Section 5.2(b)(iii) herein (the “Loss Limit Allocations”) are intended to comply with
certain requirements of Treasury Regulations Section 1.704-1(b). Notwithstanding any other
provisions of this Article 5 (other than the provisions of this Section 5.2(b) and Section 5.3), the
Loss Limit Allocations shall be taken into account in allocating other Net Income, Net Loss and
items of income, gain, loss and deduction among the Members so that, to the extent possible, the
net amount of such allocations of other Net Income, Net Loss and other items and the Loss Limit
Allocations to each Member shall be equal to the net amount that would have been allocated to
each such Member if the Loss Limit Allocations had not occurred.

Section 5.3. Allocations with Respect to Contributed Property: Agreed Value
Adjustments, Depreciation Recapture and Excess Nonrecourse Liabilities.

(a) Contributed Property. In accordance with Code Section 704(c) and the
Treasury Regulations thereunder, income gain, loss and deduction (and any item thereof) with
respect to any property contributed to the Company shall, solely for tax purposes, be allocated
among the Members so as to take into account any variation at the time of contribution between
the adjusted basis of such property to the Company for Federal income tax purposes and the
Agreed Value of the contributed property at the time of contribution (“Section 704(c)
Allocations”). The Tax Matters Member shall elect the method under which Section 704(c)
Allocations will be made for each item of contributed property. Notwithstanding the foregoing,
the Tax Matters Member shall cause the Company to elect the “remedial allocation method”
within the meaning of Treasury Regulations Section 1.704-3(d) with respect to the Cubs
Contributed Assets.

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(b) Agreed Value Adjustments. In the event the Agreed Value of any
Company Property is adjusted so as to differ from its adjusted basis for Federal income tax
purposes, such asset shall, in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g)
and 1.704-1(b)(4), take account of any variation between the adjusted basis of such asset for
Federal income tax purposes and the Agreed Value in the same manner as under Code Section
704(c) and the Treasury Regulations thereunder (“Reverse Section 704(c) Allocations”). The
Tax Matters Member shall elect the method under which Reverse Section 704(c) Allocations will
be made for each item of property whose Agreed Value is adjusted; provided, however, that,
unless otherwise required by law, the Tax Matters Member may not elect a method for any Cubs
Contributed Asset that would have a material effect on the amount or timing of the remedial
allocations to be made to the Tribune Members pursuant to Section 5.3(a) hereof and Treasury
Regulations Section 1.704-3(d).

(c) Depreciation Recapture. Pursuant to Treasury Regulations Section
1.1245-1(e), to the extent the Company recognizes gain as a result of a sale, exchange or other
disposition of Company assets which is taxable as ordinary income under Code Section 1245 or
Code Section 1250, such ordinary income shall be allocated among the Members in the same
proportion as the depreciation giving rise to such ordinary income was allocable among the
Members. In no event, however, shall any Member be allocated ordinary income hereunder in
excess of the amount of gain allocated to the Member under this Agreement. Any ordinary
income that is not allocated to a Member due to the gain limitation described in the previous
sentence shall be allocated among those Members whose shares of total gain on the sale,
exchange or other disposition of the property exceed their share of depreciation from the
Company assets, in proportion to their relative shares of the total allocable gain.

(d) Excess Nonrecourse Liabilities. For purposes of determining a Member’s
proportional share of the Company’s “excess nonrecourse liabilities” within the meaning of
Treasury Regulation Section 1.752-3(a)(3), each Member’s interest in Net Income shall be such

Member’s Percentage Share.

Section 5.4 —_ Distributions.

(a) In addition to the distribution of the Estimated Special Distribution
Amount to the Tribune Members (as may be adjusted pursuant to Section 1.5 of the Formation
Agreement), but subject to any limitations on Company distributions under the Loan Documents,
the Note Documents, and any other agreement to which the Company is a party or by which it or
any of its properties is bound, on or before the thirtieth (30") day following the last day of each
calendar quarter, the Company shall distribute all Operating Cash Flow and Capital Proceeds to
the Members in accordance with Section 5.4(b) and (c).

(b) Distributions of Operating Cash Flow. Distributions of Operating Cash
Flow shall be made to the Members in the ratio of their Percentage Shares.

(c) Distributions of Capital Proceeds. Distributions of Capital Proceeds shall
be made to the Members in the following order and priority:

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(1) First, to the Members, pro rata in accordance with each Member’s
Unreturned Common Capital until each Member’s Unreturned Common Capital has been
reduced to zero; and

(ii) The balance, if any, to the Members in the ratio of their Percentage
Shares.

(d) The Company shall, to the extent required by applicable law, withhold
taxes from distributions made to any Member or pay taxes on behalf of any Member pursuant to
Section 1446 of the Code or any similar provision of federal, state, local, or foreign law. Any
taxes so withheld or paid by the Company shall be deemed to have been distributed to such
Member or, to the extent that any such tax is not withheld from a distribution, such Member shall
promptly reimburse the Company therefor.

(e) To the extent that the proceeds of any debt financing or refinancing are to
be distributed to the Members pursuant to Section 5.4(c), the Tribune Members shall have the
right, but not the obligation, to guarantee such debt financing or refinancing on terms acceptable
to the Tribune Members in their sole discretion and such debt financing or refinancing shall be
allocated to the Tribune Members pursuant to Treasury Regulations Section 1.752-2.

Section 5.5 No Interest; No Return of Capital. No interest shall be payable on the
Capital Contributions, or in respect of the Capital Accounts, of the Members. Except as
expressly set forth herein, no Member shall have the right to require that any portion of its
Capital Contributions or Capital Account be returned or otherwise paid over to it.

ARTICLE 6
Accounting and Taxation

Section6.1 Fiscal Year. The books and records of the Company shall be kept on an
accrual basis and the fiscal year of the Company shall be the calendar year, unless the Board
otherwise determines in its sole discretion.

Section 6.2 | Maintenance of Books and Records. At all times during the continuance
of the Company, the Company shall keep or cause to be kept, at the chief executive office of the
Company, full and complete books of account. The books of account shall be maintained in a
manner that provides sufficient assurance that:

(a) transactions of the Company are executed in accordance with the general
or specific authorization consistent with the provisions of this Agreement; and

(b) transactions of the Company are recorded in such form and manner as
will: (1) permit preparation of federal, state and local income and franchise tax returns and
information returns in accordance with this Agreement and as required by law; and (ii) permit
preparation of the Company’s financial statements in accordance with GAAP.

Section 6.3. Access to Books of Account. In addition to the rights provided under
Section 18-305(a) of the Act, (i) the Members shall, upon reasonable notice and during normal
business hours, have reasonable access to the books and records of the Company and its

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Subsidiaries and shall be permitted to, without limitation, review and make copies of the books,
records, and other data of the Company and its Subsidiaries relating to their business, and (ii) to
the extent permitted by the Board in its reasonable discretion, upon reasonable notice and during
normal business hours, the Members shall have access to properties, contracts and senior
managers of the Company and its Subsidiaries.

Section 6.4 —_ Financial Statements.

(a) Annual Statements. As soon as practicable, but in any event by no later
than ninety (90) days, after the end of each fiscal year of the Company, the Company shall
prepare and deliver to each Member an audited consolidated balance sheet for the Company and
its Subsidiaries and an audited consolidated statement of operations for the Company and its
Subsidiaries and a statement of each Member’s Capital Account as at the end of, and for, such
fiscal year, prepared in accordance with GAAP.

(b) Quarterly Statements. As soon as practicable, but in any event by no later
than forty-five (45) days, after the end of each of the first three fiscal quarters of each fiscal year
of the Company, the Company shall prepare and deliver to each Member (1) (x) unaudited
consolidated statements of operations of the Company and its Subsidiaries for such fiscal quarter
and for the entire current fiscal year through the end of such fiscal quarter and (y) an unaudited
consolidated balance sheet of the Company and its Subsidiaries as at the end of such fiscal
quarter and (ii) a statement of each Member’s Capital Account as of the end of such fiscal
quarter, prepared in accordance with GAAP except such statements shall not include footnotes.

(c) Other Financial Statements. For so long as the Tribune Guarantees have
not expired or have not otherwise been terminated, the Company shall also deliver to each
Member (i) an annual budget, at the same time it is delivered to the Board, (11) a copy of any
financial statements, budgets, compliance certificates and other reports required to be delivered
to the agent or the lenders under the instruments governing the Debt Financing or Refinancing
Debt at the same time that such documents are delivered to such agents or lenders and (ii1) any
offering memorandums or similar materials prepared by the Company or its advisors delivered to
potential investors or financing sources.

Section 6.5 Taxation.

(a) The Members intend that the Company shall be treated as a “partnership”
for United States federal, state, local and foreign income and franchise tax purposes and each
Member agrees to take all reasonable actions, including the execution of such amendments of
this Agreement and the execution or amendment of other documents, to enable the Company to
qualify for and receive such treatment as a “partnership” for such purposes.

(b) The Company shall timely file a Code Section 754 election with its initial
tax return, and shall not thereafter revoke such election without the unanimous consent of all
Members.

(c) Except as otherwise provided herein, all elections by the Company for
federal, state and local income and franchise tax purposes shall be determined by the Tax Matters
Member, except where law provides that the election shall be made by the Members. The Tax

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Matters Member (at the expense of the Company) shall prepare and file or cause to be prepared
and filed all income tax and other tax returns required to be filed by the Company and the Tax
Matters Member shall provide copies of any such income tax returns to the other Members for
their review and comment at least thirty (30) days prior to filing. Notwithstanding the foregoing,
the Tax Matters Member shall not make any election not otherwise required by this Agreement
or file any tax return without first obtaining the Board’s approval of such election or tax return.
Each Member shall notify all of the Member(s) upon receipt of any notice of tax examination of
the Company by Federal, state or local authorities.

Section 6.6 Tax Matters Member.

(a) Cubs LLC is hereby designated as the Tax Matters Member for the first
taxable year of the Company, and Ricketts Member is hereby designated the Tax Matters
Member for all periods thereafter.

(b) The Tax Matters Member shall be authorized to incur expenses in the
performance of its duties pursuant to this Agreement. Notwithstanding the foregoing, the
Tribune Members shall indemnify the Company for any expenses (including, without limitation,
legal and accounting fees and expense) incurred by the Company related to an administrative or
judicial proceeding with respect to the tax consequences of the transactions set forth in Section
1.3 hereof.

(c) Each Member reserves the right to participate in an administrative or
judicial proceeding.

(d) The Tax Matters Member shall keep each other Member informed of all
administrative and judicial proceedings as provided in Section 6223(g) of the Code and the
Treasury Regulations issued thereunder, except that notice to Members shall be given within ten
(10) days of learning of an event. Notice of any meeting with the Internal Revenue Service shall
be given at least thirty (30) days prior to the date of the meeting or, if shorter, within ten (10)
days after the Tax Matters Member has been notified of the meeting.

(e) Unless the Ricketts Member consents, Cubs LLC shall not settle or
propose to settle any administrative or judicial proceeding that may have a material adverse
effect on the Ricketts Member. Any settlement or proposal to settle an administrative or judicial
proceeding with respect to the tax consequences of the transactions set forth in Section 1.3 hereof
shall not be deemed to have a material adverse effect on the Ricketts Member.

ARTICLE 7
Restrictions on Disposition of Company Interests

Section 7.1. Limitations on Disposition of Company Interests.

(a) Notwithstanding any other provision of this Article 7, no Member shall
Dispose of all or any part of its Company Interest without first obtaining all required MLB
Approvals. Any such Disposition is prohibited and shall be null and void ab initio unless all
required MLB Approvals are obtained in advance. Each Member and its legal and beneficial
owners will, at any time upon request of the Company, certify to the Company (and Major

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League Baseball, if requested) the names and addresses of all Persons having any legal or
beneficial ownership interest in such Member and the amount of such ownership interest.

(b) The Members may not Dispose of all or any part of their Company
Interest except for (a) Dispositions pursuant to this Article 7, (b) Dispositions to Affiliates,
provided that any Disposition by a Tribune Member to an Affiliate of such Tribune Member
must be of such Tribune Member’s entire Company Interest, (c) Dispositions by a Tribune
Member of its entire Company Interest pursuant to a Plan of Reorganization, and (d) pledges of
Company Interests as security for the Obligations. Notwithstanding the foregoing, the Ricketts
Member may Dispose of all or any part of its Company Interest, but only if it complies with
Sections 7.4, 7.6 and 7.7 in connection with such Disposition. Any Disposition by the Ricketts
Member permitted hereunder shall not release Ricketts Member or its Affiliates from its
obligations under this Agreement, the Formation Agreement or the Tax Matters Agreement;
provided further that such Disposition shall only be effective if the transferee of the Company
Interest also executes an amendment to this Agreement, the Formation Agreement and the Tax
Matters Agreement agreeing to be bound by the terms and conditions of this Agreement, the
Formation Agreement and the Tax Matters Agreement. For purposes of this Article 7, any
Change of Control of a Member or a Person who directly or indirectly Controls a Member shall
be deemed a Disposition of such Member’s Company Interest; provided, that, neither a sale of
equity of Tribune Company, nor a transaction that results in the sale or disposition of all or
substantially all of the properties and assets of Tribune Company and its Subsidiaries, shall be
deemed a Disposition by a Tribune Member of its Company Interest for purposes of this
Article 7.

Section 7.2. Call/Put.

(a) Call of Tribune Members’ Company Interests. At any time during the
period commencing on January 1, 2018, and ending on December 31, 2018 or the period
commencing on January 1, 2024 and ending on December 31, 2024 (each such period, the “Call
Period’), Ricketts Member (or its designee(s)) shall, subject to the terms and conditions of this
Section 7.2, have the right (the “Call’’) to purchase all (but not less than all) of the Tribune
Members’ Company Interests for an amount equal to the Fair Market Value of such Company
Interests determined as of the date of the Call Notice (the “Call Price”). To exercise the Call,
Ricketts Member shall give written notice (the “Call Notice’) to the Tribune Members and the
Board within the Call Period, which notice shall request the Board to determine the Call Price in
accordance with this Agreement, specifically Section 7.5(a). The Call Price shall be paid in full
in cash at the closing of the Call or, at the option of the Ricketts Member, in four equal cash
installment payments made on the Call Closing Date and the first, second and third anniversaries
of the Call Closing Date together with interest accrued on the unpaid amount of the Call Price at
a rate of six and one-half percent (6.5%) per annum (compounded monthly) from the Call
Closing Date to the date such installment payment is made. The closing of the Call shall occur
on the date which is the thirtieth (30") day following the date that the Tribune Members receive
the Call Notice, or (if not a Business Day) the next following Business Day (the “Call Closing
Date’), subject to extension as provided in Section 7.2(c) below.

(b) Put of Tribune Members’ Company Interests. At any time during the
period commencing on January 1, 2021, and ending on December 31, 2021, or the period

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commencing January 1, 2027 and ending on December 31, 2027 (each such period, the “Put
Period”), the Tribune Members shall have the right (the “Put’) to sell to the Company or, in
Ricketts Member’s sole discretion, to the Ricketts Member (or its designee(s)) all of the Tribune
Members’ Company Interests for an amount equal to the Fair Market Value of such Company
Interests as of the date of the Put Notice (the “Put Price”). To exercise the Put, the Tribune
Members shall give written notice (the “Put Notice”) to the Company and Ricketts Member
within the Put Period, which notice shall request the Board to determine the Put Price. The
closing of the Put shall occur on the date which is the thirtieth (30th) day following the date of
the Put Notice or (if not a Business Day) the next following Business Day (the “Original Put
Closing Date”), subject to extension as provided in Section 7.2(c) below. Notwithstanding the
foregoing, in the event that, at the time that the Tribune Members exercise the Put, the Company
is prohibited by applicable Law or by the terms of a Company debt financing from purchasing
the applicable Company Interests (and the Ricketts Member does not elect to purchase or have a
designee purchase such Company Interests), (i) the Company shall provide written notice to the
Tribune Members stating that the Company is prohibited by applicable Law or by the terms of a
Company debt financing from purchasing the Tribune Members’ Company Interests, and (ii) the
Put Period shall be extended to the date that is six months following the date on which the
Company gives the Tribune Members written notice (the “Put Completion Notice”), that the
Company is no longer prohibited from purchasing the Tribune Members Company Interests. In
the event the Put Period is extended, the Tribune Members may, at the Tribune Members’ option,
revoke the Put Notice and retain the option to exercise the Put at any time during the Put Period,
as extended, by delivering a new Put Notice. In the event of such an extension of the Put Period,
the Closing of the Put shall occur on the date which is the thirtieth (30") day following the later
of the date of the Put Completion Notice or the date of the effective Put Notice, or (if not a
Business Day) the next following Business Day (the “Deferred Put Closing Date”), subject to
extension as provided in Section 7.2(c) below. On the Original Put Closing Date or Deferred Put
Closing Date, as the case may be, the Tribune Members shall be paid cash from the Company (or
the Ricketts Member if it so elects to purchase such Company Interest) in the amount of the Put
Price, plus interest on the Put Price accruing at a rate of six and one-half percent (6.5%) per
annum (compounded monthly), from the date of the Original Put Closing Date. The Company or
the Ricketts Member, as the case may be, may elect to pay the amount of the Put Price in four
equal cash installment payments made on the Original Put Closing Date or Deferred Put Closing
Date, as the case may be, and the first, second and third anniversaries of the Original Put Closing
Date or Deferred Put Closing Date, as the case may be, plus interest accrued on the unpaid
amount of the Put Price at a rate of six and one-half percent (6.5%) per annum (compounded
monthly) from the Original Put Closing Date.

(c) The closing of the purchase and sale or redemption of Company Interests
pursuant to this Section 7.2 (the “Call/Put Closing’) shall be held at the principal office of the
Company on the Applicable Closing Date, or at such other place or on such other date as the
parties may agree. At the Call/Put Closing, (i) Ricketts Member or the Company, as the case
may be, shall purchase (or cause its designee(s) to purchase) all but not less than all of the
Tribune Members’ Company Interests for the Call Price or Put Price, as the case may be, and (ii)
against payment of the Call Price or Put Price, as the case may be, in cash, the Tribune Members
shall execute a standard assignment and assumption agreement transferring such Company
Interests to the Company or to Ricketts Member, as applicable, which shall not contain any
representations or warranties other than with respect to authority, due execution and ownership

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of such Company Interests, free and clear of all Security Liens, other than Security Liens that
secure the Obligations and Security Liens created by this Agreement. Provided that the
Company, the Board and Ricketts Member make best efforts with respect thereto, the obligation
of Ricketts Member or the Company, as the case may be, and the Tribune Members to proceed
with the Call/Put Closing shall be conditioned upon, and the scheduled Applicable Closing Date
shall be extended to ten (10) days following the later to occur of, (x) the receipt of all material
Governmental Actions/Filings and MLB Approvals that may be required in connection with the
purchase, sale or redemption of such Company Interests and (y) the final determination of the
Call Price or Put Price, as applicable, in accordance with the procedure set out in Section 7.5.
The Tribune Members shall have the right to revoke a Put Notice and Ricketts Member shall
have the right to revoke a Call Notice, in each case, by delivering written notice of such
revocation to the other party within ten (10) days of receiving the final determination of the Call
Price or Put Price, as applicable, pursuant to Section 7.5.

Section 7.3 Right of First Refusal.

(a) Except as provided in Section 7.3(e), in the event that, at any time, a
Tribune Member receives and desires to accept a written offer (a “Third Party Offer”) from a
Third Party (a “Third Party Purchaser’) to purchase for cash all or any portion of its Company
Interest (the Company Interest of the Tribune Member that is subject to the Third Party Offer
being the “Transfer Interests”), such Tribune Member shall promptly provide written notice to
Ricketts Member, which notice shall describe the price for such Transfer Interest and the other
material terms of such Third Party Offer.

(b) Ricketts Member (or its designee(s)) shall have the option, exercisable by
written notice to such Tribune Member (the “ROFR Notice”) within forty-five (45) days after
receipt of notice of the Third Party Offer from such Tribune Member, to purchase (or to have its
designee(s) purchase) such Tribune Member’s Transfer Interest, at the same price and on the
same terms as contained in the Third Party Offer.

(c) The closing of any purchase and sale of such Tribune Member’s Transfer
Interest as provided in Section 7.3(b) shall occur within twenty (20) days after the receipt by
such Tribune Member of the ROFR Notice (which date shall be extended to ten (10) days
following the receipt of all material Governmental Actions/Filings and MLB Approvals that may
be required in connection with the purchase and sale of such Tribune Member’s Transfer
Interest), at a location, to be agreed upon by Ricketts Member and such Tribune Member. At the
closing of any such purchase and sale, such Tribune Member shall execute and deliver a standard
assignment document to transfer its Transfer Interest to Ricketts Member (or its designee(s)),
free and clear of all Security Liens, other than with respect to the Obligations and those created
by this Agreement. Such Assignment document shall not contain any representations or
warranties other than with respect to authority, due execution and ownership of such Transfer
Interest free and clear of all Security Liens other than with respect to the Obligations and those
created by this Agreement.

(d) If Ricketts Member shall fail to elect pursuant to the terms of this Section
7.3 to purchase a Tribune Member’s Transfer Interest or shall fail to purchase such Transfer
Interest, in each case in accordance with this Section 7.3, then, such Tribune Member shall be

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free, for a period of ninety (90) days (which date shall be extended to ten (10) days following
receipt of all material Governmental Actions/Filings and any MLB Approvals that may be
required in connection with the purchase and sale of such Member’s Transfer Interest) thereafter,
to sell its Transfer Interest to the Third Party Purchaser identified in the notice of the Third Party
Offer, but only to that Third Party Purchaser and only for a Price not materially less favorable to
such Tribune Member than that contained in the Third Party Offer.

(e) Notwithstanding the foregoing, the Tribune Member shall not be required
to comply with this Section 7.3 in connection with a (a)Disposition of Company Interests to an
Affiliate, (b) Disposition pursuant to a Plan of Reorganization or (c) pledge of its Company
Interest.

Section 7.4 Tag- and Drag-Along.

(a) If Ricketts Member determines to sell all or part of its Company Interest to
a Third Party purchaser (a “Specified Sale”), Ricketts Member (x) shall give the Tribune
Members at least thirty (30) days advance written notice of the scheduled closing date of such
transaction (a “Potential Tag Notice”) and (y) may, with respect to a Specified Sale that will be
completed after January 1, 2018, elect to exercise the Drag, by giving the Tribune Members at
least thirty (30) days advance written notice of the scheduled closing date of such Specified Sale
(a “Drag Notice”), which notice shall include a description of the terms and conditions of such
transaction. If requested by Ricketts Member in the Drag Notice, the Tribune Members shall be
obligated to sell (a “Drag”) a portion (which may be 100%) of their Company Interests equal to
the same percentage of the Percentage Share of the Ricketts Member being sold in such
transaction (e.g. if the Ricketts Member is selling 50% of its Company Interest, then it may Drag
50% of the Company Interests of the Tribune Members, and if Ricketts Member is selling 100%
of its Company Interests, then Ricketts Member may include all of the other Members’ Company
Interests in such Drag). To the extent a Specified Sale would reduce the Ricketts Member’s
Percentage Share below 50%, if requested by a Tribune Member by written notice to Ricketts
Member (a “Tag Notice”) delivered within ten (10) days of such Tribune Member’s receipt of a
Potential Tag Notice, such Tribune Member shall be permitted to sell (a “Tag’) a portion of such
Tribune Member’s Company Interest such that the aggregate Percentage Share held by the
Tribune Members is the same Percentage of the Ricketts Member’s Percentage Share after such
Specified Sale as it was before such Specified Sale. The closing of any Tag or Drag described in
this Section 7.4(a) shall be at the same time and on the same terms and conditions as Ricketts
Member sells its Company Interest) and subject to the terms and conditions set forth in this
Section 7.4 and, if applicable, Section 7.5.

(b) Notwithstanding the foregoing, in connection with any Specified Sale:

(i) a Tribune Member will not be required to make any
representations and warranties in connection with the Specified Sale other than representations
and warranties related to authority, ownership and the ability to convey title to its Company
Interest free and clear of all Security Liens other than Security Liens that secure the Obligations
and Security Liens created by this Agreement;

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(ii) the Tribune Members shall not be liable for the inaccuracy of any
representation or warranty made by the Company or any other Person in connection with the
Specified Sale;

(iii) the liability for indemnification, if any, of the Tribune Members in
the Specified Sale and for the inaccuracy of any representations and warranties in connection
with such Specified Sale, will be several and not joint with any other Person, and will be pro rata
in proportion to the amount of consideration paid to such Tribune Member in connection with
such Specified Sale; and

(iv) _ the aggregate indemnification liability with respect to each Tribune
Member shall in no event exceed the amount of consideration received by each Tribune Member
in connection with such Specified Sale.

(c) If any portion of the consideration that would otherwise be paid to a
Tribune Member for its Company Interest in connection with a Tag or a Drag is not cash, then, at
Ricketts Member’s option (which, in the case of a Drag, shall be exercised in the Drag Notice or,
in the event of a Tag, shall be exercised by written notice delivered within ten (10) days of
Ricketts Member’s receipt of such Tribune Member’s Tag Notice (a “Tag Response’”’)), (i) such
Tribune Member shall at the closing of the transaction be paid in cash the Fair Market Value of
the non-cash consideration which would otherwise be payable for such Tribune Member’s
Company Interest (in lieu of such non-cash consideration) (the “Tag/Drag-Along Price”), as
determined in accordance with the procedure set out in Section 7.5, and (ii)Ricketts Member’s
Drag Notice or Tag Response, as applicable, shall specify Ricketts Member’s determination of
the Tag/Drag- Along Price (the “Ricketts Member Tag/Drag-Along Price”).

Section 7.5 Valuation Amount or Agreed Value Determination Mechanism.

(a) Whenever it is necessary to determine a Valuation Amount or an Agreed
Value, the Board shall, within twenty (20) Business Days of a request for such determination by
any Member, make such determination in good faith and shall provide the Members with a
reasonably detailed written summary of the analysis used by the Board to determine such
amount. If a Tribune Member disagrees with the Board’s determination of a Valuation Amount
or Agreed Value (the notice setting forth such Valuation Amount or Agreed Value delivered to
such Tribune Member is referred to herein as the “Initiating Notice”), such Tribune Member
shall deliver to the other Member(s) notice of such dispute within ten (10) days of its receipt of
the Initiating Notice (a “Dispute Notice”). The Dispute Notice shall set forth the initial
determination of such Tribune Member of the Valuation Amount or Agreed Value.

(b) The Members shall then negotiate in good faith for ten (10) days (or for
such longer period as they mutually agree) in an effort to reach agreement on the Valuation
Amount or Agreed Value. If such negotiation is unsuccessful, the Members shall promptly
designate an Appraiser (and, if the parties are unable to agree upon an Appraiser within seven (7)
days of the end of such negotiation period, the Members agree that either Member may apply to
the American Arbitration Association solely to appoint such Appraiser, and the Person so
appointed by the American Arbitration Association shall be the Appraiser).

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(c) On the fifth (5") day after appointment of the Appraiser, each Member
shall simultaneously deliver to the Appraiser a written notice of its final determination of the
Valuation Amount or Agreed Value (each, a “Valuation Notice”). The Appraiser shall be
instructed to determine within thirty (30) days of its receipt of all Valuation Notices which of the
Valuation Amounts or Agreed Values submitted by the Members in their Valuation Notice is
closer to the actual Valuation Amount or Agreed Value, and whichever is determined to be
closer shall be the final Valuation Amount or Agreed Value, as applicable. In making such
determination, the Appraiser (x) shall be instructed that the initial determinations of the
Valuation Amount or Agreed Value set forth in the Initiation Notice and the Dispute Notice shall
not be used as evidence of the actual Valuation Amount or Agreed Value or the correctness of
either Member’s determination of the Valuation Amount or Agreed Value set forth in the
Valuation Notice and (y) may request additional submissions of information from the Members
(and the Members shall promptly comply). Such Appraiser’s decision will be final and binding
on the parties and the costs for the appraisal (and the fees of the American Arbitration
Association, if any) will be borne by the party whose Valuation Amount or Agreed Value was
not determined by the Appraiser to be closer to the actual Valuation Amount or Agreed Value.

Section 7.6 Additional Provisions Relating to Permitted Dispositions.

(a) Each Member shail, to the extent requested from time to time by another
Member, (i) use its best efforts to, as promptly as practical, give all notices and obtain all
consents, approvals and waivers (including all Governmental Actions/Filings, MLB Approvals,
and any approvals that may be required under the Loan Documents or Note Documents) that
may be required in connection with a proposed Permitted Disposition, and (ii) cooperate and
cause its Affiliates to cooperate (and, together with the requesting Member, cause the Company
and the Company’s Subsidiaries to cooperate) with the requesting Member promptly to (and, in
the case of a Member, to cause the Company to) give all such notices and obtain all such
consents, approvals and waivers; provided, however, that in connection with seeking any such
consent, approval or waiver the non-transferring Members shall not be obligated to take, or to
cause their Affiliates, the Company or the Company’s Subsidiaries to take, any action that such
non-transferring Member reasonably determines would reasonably be expected to result in a
material adverse effect on the business, financial condition, properties, value or prospects of such
non-transferring Member (or any of its Affiliates) or the Company.

(b) The transferee in a Permitted Disposition shall deliver to the Company an
agreement, in form and substance reasonably satisfactory to the Company, by which such
transferee shall: (i) agree to become a party to and be bound by this Agreement as a “Member”
(with the same effect as if the transferee had initially been named herein as the Member making
the transfer); (11) assume and agree to perform when due all of the obligations of the transferring
Member under this Agreement; (iii) assume and agree to perform all of the obligations of the
transferring Member under the Loan Documents and Note Documents; and (iv) make appropriate
representations regarding compliance with the Securities Act of 1933, as amended, and the rules
and regulations thereunder as they apply to the Disposition and such other representations as are
reasonable and customary in such a transaction.

Section 7.7. —_ Effect of Permitted Dispositions.

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(a) Upon consummation of any Permitted Disposition:

(1) the transferee, upon compliance by the transferee with Section
7.6(b)) and Section 7.1, if applicable, shall be admitted as a member in the Company and be
deemed to be a party to this Agreement as a “Member” (with the same effect as if the transferee
had initially been named herein as the Member making the transfer) and succeed to the
applicable portion of the Company Interest (including the applicable portion of the Percentage
Share) at the time of the transferring Member;

(ii) the transferred Company Interest shall continue to be subject to all
the provisions of this Agreement;

(iii) the Capital Account (whether positive or negative) of the
transferring Member (in proportion to the portion of its Percentage Share transferred) shall be
transferred to the name of such transferee Member at the close of business on the effective date
of such Permitted Disposition; and

(iv) if the transferring Member has transferred all of its Company
Interest subject to Section 7.1, Section 7.7(b) and Section 11.7, the transferring Member shall
cease to be a Member (and accordingly, except as expressly otherwise provided in Section 7.1,
Section 7.7(b) or Section 11.7, shall cease to be responsible for the performance of any of the
obligations of a Member under this Agreement).

(b) No Permitted Disposition (and no resulting withdrawal or resignation of
the transferring Member from the Company) shall:

(i) relieve the transferring Member of any of the liabilities or
obligations of the transferring Member under this Agreement required to have been paid or
performed prior to the consummation of such Permitted Disposition (or of any liability it may
have arising out of any breach, misrepresentation, violation or default by the transferring
Member prior to such consummation);

(ii) result in the termination of, or relieve the transferring Member (or
any of its Affiliates) of, or otherwise affect, any of the liabilities or obligations of the transferring
Member or its Affiliates under, any agreement between the Company and any Member or any of
its Affiliates (each such agreement to continue in effect in accordance with its terms); or

(111) dissolve the Company.

Section 7.8 Effect of Prohibited Dispositions. No actual or purported Disposition of
any Company Interest of a Member (or any portion thereof), or of any other right or interest of a
Member under this Agreement, whether voluntary or involuntary, in violation of any provision
of this Agreement shall be valid or effective.

ARTICLE 8
Other Activities; Confidentiality

Section 8.1 Other Activities.

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(a) Without limiting any obligation owed by a Member to the other
Member(s) or the Company pursuant to any Contract, but except as otherwise provided in this
Agreement, each Member shall have the same duties and obligations to the Company and the
other Members as a stockholder would have to a corporation and the other stockholders under
Delaware law. For this purpose, any action that may be taken without the consent of the Tribune
Members pursuant to Section 4.2(b)(vi) shall be deemed to comply with the standard set forth in
the preceding sentence.

(b) Notwithstanding anything to the contrary contained in Section 8.1(a) or
any other provision of this Agreement (other than the provisions of Section 1.7 or Section 1.9),
except to the extent otherwise expressly provided in any Contract between any Person and the
Company (including without limitation any Transaction Document), (i) any Member or Affiliate
of any Member may separately engage, directly or indirectly (including, without limitation,
through an equity or profits interest in any other Person), in businesses or ventures of any nature
or description without regard to whether such businesses or ventures are or may be deemed to be
related to, complementary with, or competitive with the Cubs Business, and (ii) no Member or
Affiliate of any Member or member of the Board shall be obligated to present or offer to the
Company, any Member or any of their respective Affiliates any particular investment or business
opportunity, regardless of whether the Company, such Member or such Affiliate could take
advantage of such opportunity if it were to be presented to the Company, such Member or such
Affiliate, but may avail itself of any such opportunity for its own account.

(c) The parties hereto agree that, subject to Sections 1.5(c) and 3.5, the
Company shall not repay the amounts outstanding under the Debt Financing except as provided
in the Tax Matters Agreement.

(d) During the Protected Period, subject to Sections 1.5(c) and 3.5, the
Company shall not directly or indirectly consummate an Asset Transfer (other than a pledge or
other encumbrance in respect of the Debt Financing) of the Cubs Contributed Assets except (i) as
provided in the Tax Matters Agreement, (ii) Asset Transfers made in the ordinary course of
business (including Asset Transfers as a result of replacement due to normal wear and tear,
obsolescence, or discarding of worn out or useless items), and (iii) Asset Transfers required to be
made in compliance with the MLB Rules and Regulations. Without the consent of the Tribune
Member, the Company shall not (and shall not permit any Subsidiary to) solicit or encourage any
Major League Baseball Entity to issue any order or directive requiring an Asset Transfer;
provided, however, that a request that a prior oral order or directive by any Major League
Baseball Entity be delivered in writing shall not be considered a solicitation or encouragement of
such order or directive if the Company consults with the Tribune Members regarding such
request prior to making such request or as soon as reasonably practicable thereafter. The
Company shall inform the Tribune Members promptly after receipt of any communication from
any Major League Baseball Entity indicating that a written order or directive requiring an Asset
Transfer may be forthcoming.

Section 8.2. Confidentiality. From and after the date of this Agreement, each Member
shall, and shall cause its Affiliates to, maintain the confidentiality of, and shall not use for the
benefit of themselves or others, any confidential information concerning the Company or its
business (the “Confidential Information”); provided, however, that this Section 8.2 shall not

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restrict: (a) any disclosure by a Member or Affiliate thereof of any Confidential Information
required to be disclosed by applicable Law or any securities exchange (but only such portion of
the Confidential Information that it is legally required to disclose), but if permitted by applicable
Law, such Member or Affiliate shall give the Company prompt notice and a reasonable
opportunity to contest such disclosure or seek an appropriate protective order; (b) any disclosure
on a confidential basis to the attorneys, accountants and other advisors of such Member or
Affiliate; (c) any disclosure of information that: (i) is publicly available as of the date of this
Agreement, (ii) after the date of this Agreement, becomes publicly available through no fault of
the disclosing party; or (iii) is received by such Member or Affiliate from a third party not, to the
knowledge of such Member of Affiliate, subject to any obligation of confidentiality with respect
to such information; (d) any disclosure of information to lenders or other financing sources or
potential purchasers of the Company or Company Interests provided such Person executes a
confidentiality agreement with respect to such information; (e) any disclosure of information to
Major League Baseball; (f) in the case of the Tribune Members, to the extent permitted to use
Confidential Information pursuant to Section 4.5 of the Formation Agreement; and (g) in the
case of any Member, any use (but not the publication) of confidential information by such
Member or any Affiliate of such Member that is incidental to activities permitted by Section
8.1(b).

ARTICLE 9
Dissolution and Winding-Up of the Company

Section 9.1 Dissolution.

(a) Subject to the MLB Rules and Regulations, the Company shall be
liquidated and dissolved and its affairs wound up in the manner hereinafter provided only upon
the happening of any of the following events:

(1) the happening of any event that triggers a liquidation of the
Company under the Act that cannot be waived by the Members following the indefeasible
payment in full of the Obligations;

(ii) there being no members of the Company, unless the Company is
continued without dissolution in a manner permitted by this Agreement or the Act;

(ili) the determination of Members holding a majority of the Percentage
Shares to liquidate the Company in compliance with the MLB Rules and Regulations and the
Loan Documents and Note Documents; or

(iv) the sale of substantially all of the Company’s assets following the
indefeasible payment in full of the Obligations.

(b) The Bankruptcy of a Member shall not cause the Member to cease to be a
member of the Company, and upon the occurrence of such an event or the dissolution,
incapacity, death, insolvency or disability of a Member, the Company shall continue without
dissolution. Each Member waives any right it might have to agree in writing to dissolve the
Company upon the Bankruptcy of a Member or the occurrence of an event that causes a Member
to cease to be a member of the Company

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Section 9.2 | Winding-Up Procedures. If a dissolution of the Company pursuant to
Section 9.1 occurs, subject to the exercise by the Members of any rights they might have under
the terms and conditions of this Agreement or the Act, the Board shall proceed as promptly as
practicable to wind up the affairs of the Company in an orderly and businesslike manner and
distribute the assets thereof, within the time required by Treasury Regulation Section 1.704-
1(b)(2)(1i)(b)(2) (or any successor thereto) if applicable. A final accounting shall be made by the
Members. As part of the winding up of the affairs of the Company, the following steps will be
taken:

(a) The assets of the Company shall be sold (and the Capital Accounts of each
Member adjusted in accordance with Section 5.1 to take into account the Net Income, Net Loss
and items of income, gain, loss or deduction on such sale or sales).

(b) The Company shall conduct only such activities as are necessary to wind
up its affairs (including the sale of its assets in an orderly manner), and the assets of the
Company shall be applied in the manner and order of priority set forth in Section 18-804(b) of
the Act.

(c) Distributions of the assets of the Company after a dissolution of the
Company shall be conducted as follows:

(i) to creditors, including Members and Officers who are creditors, to
the extent otherwise permitted by law, in satisfaction of liabilities of the Company (whether by
payment or the making of reasonable provision for payment thereof) other than liabilities for
which reasonable provision for payment has been made and liabilities for distributions to
Members and former Members under Section 18-601 of the Act;

(ii) to Members and former Members in satisfaction of liabilities (if
any) for distributions under Section 18-601 of the Act; and

(iii) _ thereafter, to the Members pro rata in accordance with their
positive Capital Account balances.

Section 9.3. Deficit Capital Accounts. No Member shall have any obligation to restore
any negative balance in its Capital Account upon dissolution or liquidation of the Company.

ARTICLE 10
Board Duties; Indemnification

Section 10.1 Board Duties. Each member of the Board, in his or her capacity as such,
must act (or refrain from acting) solely according to the interests of the Company and its
Members (as a group). Each member of the Board shall owe such duties to the Company and the
Members as a director of a Delaware corporation would owe to such corporation and such
corporation’s stockholders. Notwithstanding anything to the contrary in this Section 10.1 or any
other provision of this Agreement (but subject to Section 1.7), it shall not be a breach of the
duties of any member of the Board to approve (i) any transaction described in Section 4.2(b)(vi)
that does not require the approval of the Tribune Member, (ii) any business or venture by a
Member or an Affiliate of a Member that is described in Section 8.1(b) (or any decision that the

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Company will not engage in such business or venture), (iii) the Company’s (or any Subsidiary’)
borrowing of money or incurring of Indebtedness under the circumstances permitted by Section
4.2(b)(vii) or Section 4.2(b)(viii), (iv) any call for additional capital contributions under the
circumstances permitted by Section 2.2, or (v) the establishment of any reserves.

Section 10.2. Indemnification.

(a) To the maximum extent permitted by applicable Law, the Company will
indemnify the Directors, the Officers and Members (each, an “Indemnified Person’) and hold
them harmless from and against all Damages suffered or incurred by them in the course of
serving in any office of, or otherwise representing or acting for or on behalf of the Company (in
each case within the scope of their authority); provided, however, that, any other provision
hereof notwithstanding (but subject to Section 1.7), (a) any such indemnification will be solely
from the net assets of the Company, and no Member will be required to make any capital
contribution or otherwise pay any amount from such Member’s own assets as a result thereof and
(b) the Company shall not indemnify any Person for intentional misconduct, bad faith or gross
negligence. Upon making a claim for indemnification, an Indemnified Person may request in
writing that the Company advance to him the expenses of defending the claim, action, suit or
proceeding giving rise to such indemnification claim and the Company will advance such
expenses. The Indemnified Person shall agree to return to the Company amounts advanced by
the Company in the event that a judgment or other final adjudication (in each case which is not
subject to appeal) is rendered holding that he is or was not entitled to be indemnified by the
Company in accordance with this Agreement. The Company will enter into a written
indemnification with the Tribune Directors reflecting the terms of this Section 10.2(a) and such
other terms and conditions as the Tribune Member reasonably requests.

(b) Notwithstanding Section 10.2(a), during an Event of Default (as defined in
any Loan Document or Note Document), the Company’s obligations under Section 10.2(a) shall
not be paid and shall be fully subordinated to the Obligations.

Section 10.3 Insurance for Article 10 Matters. For any periods during which there is a
Tribune Director, the Company will purchase and maintain standard Directors and Officers
liability insurance covering the Tribune Directors with coverage limits, and subject to exclusions,
deductibles and other material terms that are no less favorable to the insured than any Directors
and Officers liability insurance obtained for any of the Bidder Directors or any of the Ricketts
Member’s Board of Directors or any of the Board of Directors of any other Member that is an
Affiliate of the Ricketts Member, provided however that such policy shall have coverage limits
of at least One Million Dollars ($1,000,000), with a self-insured retention amount of zero dollars
($0), and be on a “pay on behalf of” basis.

Section 10.4 Subordination. All liabilities and obligations of the Company under this
Article 10 (other than the obligations of the Company under Section 10.3) are fully subordinated
to the Obligations and are non-recourse to the Company and its assets (other than cash flow in
excess of amounts necessary to pay the holders of the Obligations (“Excess Funds”)) and, to the
fullest extent permitted by law, does not constitute a claim against the Company to the extent the
Excess Funds are insufficient to pay the liability.

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ARTICLE 11
Miscellaneous

Section 11.1 Waiver of Rights of Partition and Dissolution. Each of the Members
hereby irrevocably waives all rights it may have at any time to maintain any action for
dissolution of the Company, or division or sale of the Company Property, as now or hereafter
permitted under the Act or any other applicable Law. Each Member hereby waives and
renounces its rights to seek a court decree of dissolution or to seek the appointment of a court
receiver for the Company as now or hereafter permitted under the Act or any other applicable
law. Subject to provisions of Law that cannot be waived by the Members and to circumstances
involving a breach of this Agreement by the other Member, each Member covenants that it will
not (except with the consent of the Board) file a bill for Company accounting. Nothing in this
Section 11.1 limits the right of either Member to institute or maintain an appropriate action to
enforce or exercise any right expressly granted to it under this Agreement.

Section 11.2 Entire Agreement; No Third Party Beneficiary. This Agreement and the
other Transaction Documents contain the entire agreement by and among the parties with respect
to the subject matter hereof and all prior negotiations, writings and understandings relating to the
subject matter of this Agreement (including the Original Agreement), are merged in and are
superseded and canceled by, this Agreement and the other Transaction Documents. Subject to
the remainder of this Section 11.2, (a) none of the provisions of this Agreement shall be for the
benefit of or enforceable by any Person not a party to this Agreement, including by any creditor
of the Company or by any creditor of any Member, and (b) nothing in this Agreement shall be
deemed to confer upon any Person not a party hereto (or its successors or permitted assigns), and
this Agreement shall not be construed in any respect to be a contract in whole or in part for the
benefit of any third Person; provided that (x) each Indemnified Person may rely upon and
enforce the provisions of this Agreement for its benefit and (y) the Office of the Commissioner
of Baseball may rely upon and enforce the provisions of Section 3.5.

Section 11.3. Governing Law.

(a) This Agreement and any disputes arising hereunder or controversies
related hereto shall be governed by and construed in accordance with the laws of the State of
Delaware that apply to contracts made and performed entirely within such state, except to the
extent that the Act is mandatorily applicable.

(b) Any Action with respect to this Agreement, any matter arising out of or in
connection with this Agreement shall be brought exclusively in the state or federal courts sitting
in the state of Delaware. By execution and delivery of this Agreement, each party hereto hereby
accepts for itself and in respect of such Person’s property, generally and unconditionally, the sole
and exclusive jurisdiction of the aforesaid courts and appellate courts thereof. Each party hereto
irrevocably consents to service of process in any Action in any of the aforementioned courts by
the mailing of copies thereof by registered or certified mail, postage prepaid, or by recognized
overnight delivery service, to such party at such party’s address referred to in Section 11.5. Each
party hereto hereby irrevocably and unconditionally waives any objection which such Person
may now or hereafter have to the laying of venue of any of the aforesaid actions or proceedings
arising Out of or in connection with this Agreement brought in the courts referred to above and

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hereby further irrevocably waives and agrees, to the extent permitted by applicable Law, not to
plead or claim in any such court that any such Action brought in any such court has been brought
in an inconvenient forum. Nothing herein shall affect the right of any party hereto to serve
process in any other manner permitted by Law. Notwithstanding anything in this Section 11.3(b)
to the contrary, each party agrees that a final judgment in any such Action shall be conclusive
and may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by Law.

(c) WAIVER OF JURY TRIAL. EACH PARTY HERETO, HEREBY
IRREVOCABLY AND UNCONDITIONALLY WAIVES TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW ALL RIGHT TO TRIAL BY JURY IN ANY ACTION
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
RELATING TO THE ACTIONS OF THE PARTIES HERETO PURSUANT TO THIS
AGREEMENT IN THE NEGOTIATION, ADMINISTRATION, PERFORMANCE OR
ENFORCEMENT HEREOF.

Section 11.4 Amendments and Waivers. This Agreement and the certificate of
formation of the Company may only be modified or amended pursuant to a written agreement
executed by all Members; provided that, while any Obligations remain outstanding, the
Company may not amend, alter, waive, repeal, or otherwise modify the provisions of this
Agreement without first obtaining the consents required under the Loan Documents and Note
Documents. Any Member may, only by an instrument in writing (and subject to the proviso in
the preceding sentence), waive compliance by any other Member with any term or provision
hereof on the part of such other Member to be performed or complied with. No failure or delay
of any Member in exercising any right or remedy hereunder shall operate as a waiver thereof, nor
will any single or partial exercise of any right or power, or any abandonment or discontinuance
of steps to enforce such right or power, preclude any other or further exercise thereof or the
exercise of any other right or power. The waiver by any Member of a breach of any term or
provision hereof shall not be construed as a waiver of any subsequent breach. The rights and
remedies of the Members hereunder are cumulative and are not exclusive of any rights or
remedies that they would otherwise have hereunder. Notwithstanding the foregoing, any
amendment to this Agreement is subject to first obtaining any applicable MLB Approval and any
consent required under the Loan Documents and Note Documents; and no amendment to this
Agreement that is in violation of a requirement of the MLB Rules and Regulations or any Loan
Document or Note Document at the time it is executed shall have any force or effect. The
Members and the Company hereby acknowledge that the MLB Rules and Regulations currently
require that all amendments to this Agreement be submitted for MLB Approval.

Section 11.5 Notices. All notices and other communications hereunder will be in
writing and given by certified or registered mail, return receipt requested, nationally recognized
overnight delivery service, such as Federal Express or facsimile (or like transmission) with
confirmation of transmission by the transmitting equipment or personal delivery against receipt
to the party to whom it is given, in each case, at such party’s address or facsimile number set
forth below or such other address or facsimile number as such party may hereafter specify by
notice to the other parties hereto given in accordance herewith. Any such notice or other
communication shall be deemed to have been given as of the date so personally delivered or

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transmitted by facsimile or like transmission, on the next Business Day when sent by overnight
delivery services or five (5) days after the date so mailed if by certified or registered mail.

If to the Company or the Ricketts Member:

c/o Incapital LLC

200 S. Wacker, Suite 3700
Chicago, IL 60606

Fax No.: (312) 379-3701
Attention: Thomas Ricketts

Hugo Enterprises LLC
1395 S. Platte River Drive
Denver, CO 80223

Fax No.: (303) 200-7086
Attention: Alfred P. Levitt

and

Foley & Lardner LLP

777 E. Wisconsin Avenue

Milwaukee, WI 53202

Fax No.: (414) 297-4900

Attention: Mary K. Braza and John B. Palmer

If to Tribune Members:

Tribune Company

435 North Michigan Avenue
Chicago, IL 60611

Fax No.: (312) 222-4206
Attention: General Counsel

with a copy to:

McDermott Will & Emery LLP

227 West Monroe Street

Chicago, IL 60606

Fax No.: (202) 756-8424

Attention: Blake D. Rubin and Andrea M. Whiteway

If to the Office of the Commissioner of Baseball:

Office of the Commissioner of Baseball
245 Park Avenue

New York, NY 10167

Fax No. (212) 949-5653

Attention: General Counsel

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Section 11.6 Counterparts. This Agreement may be executed in one or more
counterparts, all of which shall be considered one and the same agreement, and will become
effective when one or more counterparts have been signed by a party and delivered to the other
parties. Copies of executed counterparts transmitted by telecopy, telefax or other electronic
transmission service shall be considered original executed counterparts for purposes of this
Section 11.6, provided that receipt of copies of such counterparts is confirmed.

Section 11.7 Successors and Assigns. This Agreement will be binding upon and inure
to the benefit of the Members and their respective successors and permitted assigns; provided,
however, that, except in connection with Permitted Dispositions that are completed in
accordance with Article 7, no Member may assign its rights or delegate its obligations, in whole
or in part, under this Agreement without the prior written consent of all of the other Members
and any consents required under the Loan Documents or Note Documents. Any purported
assignment or delegation in violation of this Agreement shall be null and void ab initio.

Section 11.8 Headings. The Section, Article and other headings contained in this
Agreement are inserted for convenience of reference only and will not affect the meaning or
interpretation of this Agreement.

Section 11.9 Interpretation; Absence of Presumption.

(a) For the purposes hereof: (i) words in the singular shall be held to include
the plural and vice versa and words of one gender shall be held to include the other gender as the
context requires; (ii) the terms “hereof,” “herein,” and “herewith” and words of similar import
shail, unless otherwise stated, be construed to refer to this Agreement as a whole (including all of
the Schedules and Exhibits) and not to any particular provision of this Agreement, and Article,
Section, paragraph, Exhibit and Schedule references are to the Articles, Sections, paragraphs,
Exhibits, and Schedules to this Agreement unless otherwise specified; (iii) the word “including”
and words of similar import when used in this Agreement shall mean “including, without
limitation,” unless the context otherwise requires or unless otherwise specified; (iv) the word
“or” shall not be exclusive; and (v) unless the context otherwise requires, any reference to “the
parties hereto” or “the parties to this Agreement” shall mean Ricketts Member, on the one hand,
and Tribune Member, on the other hand.

(b) With regard to each and every term and condition of this Agreement and
any and all agreements and instruments subject to the terms hereof, the parties hereto understand
and agree that the same have or has been mutually negotiated, prepared and drafted, and if at any
time the parties hereto desire or are required to interpret or construe any such term or condition
or any agreement or instrument subject hereto, no consideration will be given to the issue of
which party hereto actually prepared, drafted or requested any term or condition of this
Agreement or any agreement or instrument subject hereto.

Section 11.10 Further Assurances.

(a) From time to time after the date of this Agreement, upon the reasonable
request of Ricketts Member, Tribune Member shall, and shall cause its Controlled Affiliates to,
execute and deliver or cause to be executed and delivered such further documents and take such

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further action as Ricketts Member may reasonably request in order more effectively to
consummate the transactions contemplated by this Agreement and to carry out the provisions of
this Agreement.

(b) From time to time after the date of this Agreement, upon the reasonable
request of Tribune Member, Ricketts Member shall, and shall cause its Controlled Affiliates to,
execute and deliver or cause to be executed and delivered such further documents and take such
further action as Tribune Member may reasonably request in order more effectively to
consummate the transactions contemplated by this Agreement and to carry out the provisions of
this Agreement.

Section 11.11 Business Days. If any date provided for in this Agreement shall fall on a
day that is not a Business Day, the date provided for shall be deemed to refer to the next
Business Day.

Section 11.12 Severability. Any provision hereof that is held to be invalid, illegal or
unenforceable in any respect by a court of competent jurisdiction, shall be ineffective only to the
extent of such invalidity, illegality or unenforceability, without affecting in any way the
remaining provisions hereof, provided, however, that the parties will attempt in good faith to
reform this Agreement in a manner consistent with the intent of any such ineffective provision
for the purpose of carrying out such intent.

[The next page is the signature page]

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The parties have caused this Limited Liability Company Agreement to be executed as of

the date first written above.

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CHICAGO BASEBALL HOLDINGS, LLC

By: Ricketts Acquisition LLC

RICKETTS ACQUISITION LLC

By:
Name:
Title:

CHICAGO NATIONAL LEAGUE BALL CLUB,
LLC

WRIGLEY FIELD PREMIUM ~ TICKET
SERVICES, LLC

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DIANA-QUENTIN, LLC

By:

Name:
Title:

TRIBUNE SPORTS NETWORK HOLDINGS,
LLC

By:
Name:
Title:

CHICAGO CUBS DOMINICAN BASEBALL
OPERATIONS, LLC

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Exhibits

Exhibit A — Certain Definitions
Exhibit B — Initial Directors
Exhibit C - Members, Percentage Shares, and Common Capital

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EXHIBIT A

Certain Definitions

1. As used in the Agreement, the following terms have the following meanings
(terms defined in the singular to include the plural and vice versa and references in this Exhibit A
to sections constitute references to sections of the Agreement unless otherwise expressly
indicated):

“Act” means the Delaware Limited Liability Company Act, 6 Del. C. §§18-101 et seq.

“Action” means any actual or threatened action (at law or in equity), suit, arbitration,
hearing, review, inquiry, proceeding or investigation.

“Affiliate” means, with respect to any specified Person, (a) any other Person that directly,
or indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, such specified Person, (b) any officer, director, equity holder, manager or partner of
such Person or any of the Persons referred to in clause (a), and (c) any parent, sibling, descendant
or spouse of such Person or of any of the Persons referred to in clauses (a) or (b) or anyone
sharing a home with such Person or any of the Persons referred to in clauses (a) or (b). For
purposes of this definition, “control” (including the terms “controlled by” and “under common
control with”), means the possession, directly or indirectly, of the power to direct or cause the
direction of the affairs or management of a Person, whether through the ownership of voting
securities, as trustee or executor, by contract or otherwise, including, without limitation, the
ownership, directly or indirectly, of securities having the power to elect a majority of the board
of directors or similar body governing the affairs of such Person. The parties agree that (x) any
Person owning 20% or more of the outstanding equity of an entity shall be deemed to “control”
such entity and (y) the Ricketts Family shall be deemed Affiliates of the Company. For purposes
of this definition, “Ricketts Family” shall mean one or more of Joe Ricketts, Laura Ricketts,
Peter Ricketts, Todd Ricketts or Thomas Ricketts, one or more trusts established for the benefit
of one or more of them and/or entities directly or indirectly controlled by one or more of the
foregoing.

“Agent” means, with respect to any specified Person, the officers (or persons performing
similar functions), directors (or persons performing similar functions), employees, attorneys,
auditors and agents of such specified Person.

“Agreed Value” means: (a) with respect to all property transferred to the Company as a
Capital Contribution, the Fair Market Value of the property on the date that it is contributed to
the Company as set forth in Section 1.3 hereof, and in all other cases, as determined by the Board
(subject to Section 7.5); and (b) with respect to the revaluation of Company Property in
accordance with the last sentence of Section 5.1(a), the Fair Market Value of such Company
Property at the time of the event requiring such revaluation as determined by the Board.

“Applicable Closing Date” means the Call Closing Date or Put Closing Date, as
applicable.

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“Appraiser” means an independent appraiser of national reputation with experience in
valuing businesses such as the Company, and who has no material relationship with any Member
or any Affiliate thereof.

“Asset Transfer” means any sale, transfer, disposition, exchange, assignment, pledge,
hypothecation or gift of any direct or indirect interest in any entity owned by the Company or
any asset or portion of an asset owned directly or indirectly by the Company.

“Auditors” means the registered public accountant of the Company.

“Bankruptcy” means, with respect to any Person, if such Person (i) makes an assignment
for the benefit of creditors; (ii) files a voluntary petition in bankruptcy; (iii) is adjudged a
bankrupt or insolvent, or has entered against it an order for relief, in any bankruptcy or
insolvency proceedings; (iv) files a petition or answer seeking for itself any reorganization,
arrangement, composition, readjustment, liquidation or similar relief under any statute, law or
regulation; (v) files an answer or other pleading admitting or failing to contest the material
allegations of a petition filed against it in any proceeding of this nature; (vi) seeks, consents to or
acquiesces in the appointment of a trustee, receiver or liquidator of the Person or of all or any
substantial part of its properties; or (vii) if 120 days after the commencement of any proceeding
against the Person seeking reorganization, arrangement, composition, readjustment, liquidation
or similar relief under any statute, law or regulation, if the proceeding has not been dismissed, or
if within 90 days after the appointment without such Person’s consent or acquiescence of a
trustee, receiver or liquidator of such Person or of all or any substantial part of its properties, the
appointment 1s not vacated or stayed, or within 90 days after the expiration of any such stay, the
appointment is not vacated. The foregoing definition of “Bankruptcy” is intended to replace and
shall supersede and replace the definition of “Bankruptcy” set forth in Sections 18-101(1) and
18-304 of the Act.

“Business Day” means any day except a Saturday, Sunday or other day on which
commercial banks in Chicago, Illinois are required or authorized by law to close.

“Capital Account” means the capital account of a Member in the Company, calculated
as set forth in Section 5.1(a).

“Capital Contributions” means the sum of the amount of cash and the Agreed Value of
property contributed by a Member to the capital of the Company pursuant to Section 1.3(a),
Section 1.3(c). or Section 2.2.

“Capital Proceeds” means the cash or property received by the Company from any of
the following (1) a sale, exchange, transfer, assignment, or other disposition of all or a portion of
the Company Property (but not including occasional sales in the ordinary course of business of
inventory, Operating equipment or furniture, fixtures and equipment); (ii) any financing or
refinancing of, or with respect to, any Company Property; (iii) any condemnation proceeds or
deeding in lieu of condemnation of all or a portion of any Company Property; (iv) a collection in
respect of property, hazard, or casualty insurance (but not business interruption insurance) or any
damage award except to the extent proceeds are used to repair or replace the assets so damaged
or destroyed; or (v) any other transactions which under GAAP, would be capital in nature, in

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each case after reducing such proceeds by the amount of any cash used to pay or establish
reserves for all expenses of the Company, pay debt service, capital improvements, compensation,
replacements, and contingencies, all as determined by the Board in its sole discretion.

“Change of Control” means, with respect to a Member or a Person who directly or
indirectly Controls a Member, the direct or indirect transfer (in a single transaction or series of
related transactions) of such Member to any Third Party or group of Third Parties pursuant to
which such Third Party or group of Third Parties acquires directly or indirectly (a) the power to
Control such Member or Person or (b) all or substantially all of the assets of such Member or
Person.

“Claims” means any and all actions, claims, demands, causes of action, suits at law or in
equity, verdicts, or judgments, including any of the foregoing based upon Contract, breach of
Contract, breach of warranty (express or implied) or covenant, tort, negligence, gross negligence,
recklessness, fault, strict liability, misrepresentation, fraud, quantum meruit, breach of fiduciary
duty, violation of statutes or administrative regulations or any other legal or equitable theory,
whether presently known or unknown, developed or undeveloped, discovered or undiscovered.

“Club” means the Chicago Cubs Major League Baseball Club.
“Code” means the Internal Revenue Code of 1986, as amended from time to time.

“Commissioner” means the Commissioner of Baseball as elected under the Major
League Constitution or, in the absence of a Commissioner, any Person succeeding to the powers
and duties of the Commissioner pursuant to the Major League Constitution.

“Common Capital” means, with respect to each Member, the amount set forth on
Schedule C attached hereto plus any additional Capital Contributions made to the Company
pursuant to Section 2.2.

“Company” means Chicago Baseball Holdings, LLC, a Delaware limited liability
company.

“Company Interest” means, with respect to any particular Member: (a) (x) such
Member’s rights to share in the income, gain, loss, deductions and credits of, and the right to
receive distributions from, the Company, and (y) all other rights, benefits and privileges enjoyed
by such Member (under the Act, this Agreement or otherwise) in its capacity as a Member,
including rights to vote, consent and approve or otherwise participate in the management of the
Company (but in the case of a partial transfer of the Ricketts Member’s Company Interest, other
than rights granted specifically to the Ricketts Member).

“Company Minimum Gain” means, with respect to each Nonrecourse Liability of the
Company, the amount of gain (of whatever character) that would be realized by the Company if
it disposed of the Company Property subject to such liability in a taxable transaction in full
satisfaction of such liability (and for no other consideration), and by then aggregating the
amounts so computed. It is further understood that Company Minimum Gain shall be
determined in a manner consistent with the rules of Treasury Regulation Section 1.704-2(d),
including without limitation the requirement that if the book value of property (as determined for

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purposes of computing Net Income and Net Loss) subject to one or more Nonrecourse Liabilities
differs from its adjusted tax basis, Company Minimum Gain shall be determined with reference
to such book value.

“Company Property” means all property, whether real or personal, tangible or
intangible, owned by the Company (or treated as owned by the Company for federal income tax
purposes).

“Contract” means any oral or written agreement, instrument, contract, undertaking,
mortgage, indenture, lease, license or other binding understanding.

“Control” means, as to any Person, the power to direct or cause the direction of the
management and policies of such Person, whether through the ownership of voting securities, by
Contract or otherwise. The term “Controlled” shall have a correlative meaning.

“Controlled Affiliates” means (i) in the case of Ricketts Member, Affiliates of Ricketts
Member that are Controlled by Bidder, and (ii) in the case of the Tribune Members, Affiliates of
the Tribune Members that are Controlled by Tribune Company.

“Credit Agreement” means the Credit Agreement dated , 2009, among the
Member, the lenders party thereto, and JP Morgan Chase Bank, N.A., as Administrative Agent.

“Cubs Assumed Liabilities” has the meaning set forth in the Formation Agreement.
“Cubs Business” has the meaning set forth in the Formation Agreement.
“Cubs Contributed Assets” has the meaning set forth in the Formation Agreement.

“Damages” means any loss, liability, damage, or expense (including, but not limited to,
amounts paid pursuant to a judgment, award, or settlement, reasonable attorneys’ fees, and other
costs or expenses incurred in connection with the defense of any actual or threatened action,
proceeding, or claim).

“Debt Financing” has the meaning set forth in the Formation Agreement.

“Depreciation” means, for each fiscal year or other period, an amount equal to the
depreciation, amortization or other cost recovery deduction allowable with respect to an asset for
such year or other period for Federal income tax purposes, except that if the Agreed Value of an
asset differs from its adjusted basis for Federal income tax purposes at the beginning of such year
or other period, Depreciation shall be an amount which bears the same ratio to such beginning
Agreed Value as the Federal income tax depreciation, amortization or other cost recovery
deduction for such year or other period bears to such beginning adjusted tax basis; provided,
however, that if the Federal income tax depreciation, amortization or other cost recovery
deduction for such year is zero, Depreciation shall be determined with reference to such
beginning Agreed Value using any reasonable method selected by the Board. With respect to
any asset of the Company for which depreciation is calculated in accordance with Treasury
Regulations Section 1.704-3(d), Depreciation shall be computed in the same manner.

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“Disposition” means: (a) any sale, assignment, alienation, gift, exchange, conveyance,
transfer, pledge, hypothecation, granting of a security interest or other disposition or attempted
disposition whatsoever, whether voluntary or involuntary; or (b) the coming into existence,
whether voluntarily or involuntarily, of any Security Lien other than a Security Lien (as to which
no enforcement, collection, execution, levy or foreclosure proceeding shall have been
commenced) for taxes, assessments and governmental charges or levies, or any other Security
Lien imposed or arising by operation of law for any liabilities or obligations, which taxes,
assessments, governmental charges or levies, or other liabilities or obligations, as the case may
be, are either (w) not yet due and payable, (x) due but payable without penalty, (y) not overdue
for a period of more than thirty (30) days or (z) being contested in good faith and by appropriate
proceedings and as to which appropriate reserves are being maintained. For the avoidance of
doubt, it is understood and agreed that a statutory conversion of a Person into another form of
Person does not constitute a Disposition. The term “Dispose” means to make or consummate a
“Disposition.”

“Dollar” or “$” means lawful currency of the United States of America.

“EBITDA” means for any period an amount determined for the Company equal to (i)
consolidated net income, plus (ii) all cash distributions received directly or indirectly by the
Company from Comcast SportsNet Chicago, LLC, a Delaware limited liability company, to the
extent not included in (i), plus (iii) consolidated interest expense, net of any interest income, plus
(iv) provisions for taxes based on income, plus (v) total depreciation expense, plus (vi) total
amortization expense (other than amortization expense attributable to player signing bonuses or
other player compensation), minus (vii) cash paid as deferred compensation to Samuel Sosa,
minus (viii) cash withheld from the dividends and distributions of any income from equity
investments, to the extent included in consolidated net income, and plus or minus (ix) losses or
gains on sales of equity investments, to the extent included in consolidated net income, in each
case determined on a consolidated basis in accordance with GAAP, consistently applied.

“Estimated Special Distribution Amount” has the meaning set forth in the Formation
Agreement.

“Fair Market Value” means, as to any Company Interest or other property, the cash
purchase price at which a willing seller would sell and a willing buyer would buy such property
as of the applicable valuation determination date (without taking into account events subsequent
to that date) in an arm’s-length transaction, with each party having full knowledge of the relevant
facts, without either party having time constraints, without either party being under any
compulsion to buy or sell without discount for lack of consent or minority discount, and,
assuming that (1) the parties will be bound by representations, warranties, covenants, indemnities,
and undertakings that are then associated with owning the Company, including those pursuant to
the Tax Matters Agreement and the Subordinated Loan Commitment Agreement (or any similar
agreements in effect at such time) and (ii) all Major League Baseball, regulatory, governmental
and other approvals are attainable. For purposes of Section 7.2, the Fair Market Value of a
Tribune Member’s Company Interest shall be the amount that such Tribune Member would
receive with respect to such Company Interest if the Company sold all of its assets at Fair Market
Value, paid or reserved for all liabilities, expenses, contingencies, obligations, indemnities, and
undertakings, and liquidated.

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“GAAP” means United States generally accepted accounting principles as in effect from
time to time, as applied by the Company from time to time.

“Governmental Action/Filing” means any authorization, consent, order, clearance
(including expiration or termination of a specified waiting period), permit, license, waiver,
approval or similar action of, or registration, declaration or other filing with, any Governmental
Authority.

“Governmental Authority” means any governmental or quasi- governmental authority,
including: (a) the United States or any other country, any state, province, territory or possession
of the United States or any other country, and any local or other governmental body, or other
political subdivision, in or of any of the foregoing; and (b) any agency, board, bureau, court,
commission, department, instrumentality or administration of any of the foregoing.

“Guidelines” means the Control Interest Transfers — Guidelines & Procedures issued by
the Commissioner on November 9, 2005 as the same may be amended, supplemented or
otherwise modified from time to time.

“Indebtedness” means, with respect to any Person: (a) indebtedness for borrowed
money of such Person and its Subsidiaries (including any overdrafts); (b) obligations of such
Person and its Subsidiaries evidenced by notes, bonds, debentures or similar instruments (other
than capital lease obligations); (c) indebtedness created or arising under any conditional sale or
other title retention agreement with respect to property acquired by such Person or any of its
Subsidiaries; (d) obligations of such Person or any of its Subsidiaries under acceptance, letter of
credit or similar facilities; (e) capital lease obligations of such Person and its Subsidiaries; (f)
indebtedness of the type described in clause (a) above guaranteed directly or indirectly in any
manner by such Person or any of its Subsidiaries including interest and penalties thereon; and (g)
indebtedness of the type described in clauses (a) and (b) above secured by (or for which the
holder of such indebtedness has an existing right, contingent or otherwise, to be secured by) any
Security Lien on assets or property owned by such Person or any of its Subsidiaries.

“Insolvency Action” means to (i) commence any case, proceeding or other action on
behalf of the Company under any existing or future law of any jurisdiction relating to
bankruptcy, insolvency, reorganization, relief from debts or the protection of debtors generally;
(ii) institute proceedings to have the Company adjudicated as bankrupt or insolvent; (iii) consent
to the institution of bankruptcy or insolvency proceedings against the Company; (iv) file a
petition or consent to a petition seeking reorganization, arrangement, adjustment, winding-up,
dissolution (to the fullest extent permitted by law), composition, liquidation or other relief on
behalf of the Company of its debts under any federal or state law relating to bankruptcy or
insolvency; (v) seek or consent to the appointment of a receiver, liquidator, assignee, trustee,
sequestrator, custodian or similar official for the Company or a substantial portion of its
properties; (vi) make any assignment for the benefit of the Company’s creditors; or (vii) take any
action in furtherance of any of the foregoing.

“Law” or “Laws” means all statutes, codes, ordinances, decrees, rules, regulations,
municipal by-laws, judicial or arbitral or administrative or ministerial or departmental or
regulatory judgments, orders, decisions, rulings or awards, policies, or any provisions or

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interpretations of the foregoing, including general principles of common and civil law and
equity, binding on or affecting the Person referred to in the context in which such word is used.

“Loan Documents” has the meaning set forth in the Credit Agreement.

“Major League Baseball” means, depending on the context, any or all of (a) the Office
of the Commissioner of Baseball, each other Major League Baseball Entity, and/or all boards and
committees thereof, including, without limitation, the Ownership Committee and/or (b) the
Major League Clubs, acting collectively.

“Major League Baseball Documents” means, collectively, the following documents as
in effect from time to time and any amendments, supplements or other modifications thereto and
all replacement or successor documents thereto that may in the future be entered into: (a) the
Major League Constitution, (b) the Basic Agreement between the Major League Clubs and the
Major League Baseball Players Association, (c) the Professional Baseball Agreement between
the Office of the Commissioner of Baseball, on behalf of itself and the Major League Clubs, and
the National Association of Professional Baseball Leagues, (d) the Major League Rules (and all
attachments thereto), (e) the Interactive Media Rights Agreement, effective as of January 20,
2000, by and among the Office of the Commissioner of Baseball, the various Major League
Clubs, MLB Advanced Media, L.P. and various other Major League Baseball Entities and (f)
each agency agreement and operating guidelines among the Major League Clubs and any Major
League Baseball Entity, including the Amended and Restated Agency Agreement, effective as of
November 1, 2006, by and among Major League Baseball Properties, Inc. and the various Major
League Clubs, the American and National Leagues of Professional Baseball Clubs and the Office
of the Commissioner of Baseball (and the Operating Guidelines related thereto).

“Major League Baseball Entity” means any entity, whether now existing or formed
after the date hereof, that is owned, directly or indirectly, by a majority of the Major League
Clubs and/or one or more of the entities directly or indirectly owned by a majority of the Major
League Clubs, including each of the following entities: the Office of the Commissioner of
Baseball, Major League Baseball Enterprises, Inc., Major League Baseball Properties, Inc., MLB
Advanced Media, L.P., MLB Network Holdings, LLC, The MLB Network, LLC and each of
their respective present and future affiliates, successor or assigns.

“Major League Club” means any Major League Baseball club that is entitled to the
benefits, and bound by the terms, of the Major League Constitution

“Major League Constitution” means the Major League Constitution (which amended
and superseded the Major League Agreement dated January 1, 1975, the Agreement in re Major
Leagues Central Fund dated as of December 8, 1983, as amended, and the respective
constitutions of the former American and National Leagues of Professional Baseball Clubs) as
the same may be amended, supplemented or otherwise modified from time to time in the manner
provided therein and all replacement or successor agreements that may in the future be entered
into by the Major League Clubs.

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“Members” means the Tribune Members, Ricketts Member and any other Person
admitted as a member of the Company, in each case so long as such Person remains a member of
the Company.

‘Member Nonrecourse Debt” has the meaning ascribed to the term “Partner
Nonrecourse Debt” in Treasury Regulations Section 1.704-2(b)(4).

“Member Nonrecourse Debt Minimum Gain” has the meaning ascribed to the term
“Partner Nonrecourse Debt Minimum Gain” in Treasury Regulations Section 1.704-2(i)(3).

“Member Nonrecourse Deductions” has the meaning ascribed to the term “Partner
Nonrecourse Deductions” in Treasury Regulations Section 1.704-2(i)(2).

“MLB Approvals” means any approval from the Commissioner or Major League
Baseball that is required to be obtained pursuant to MLB Rules and Regulations (as exercised in
the sole and absolute discretion of the Commissioner and/or Major League Baseball).

“MLB Rules and Regulations” means (i) the Major League Baseball Documents, (ii)
any present or future agreements or arrangements entered into by, or on behalf of, the Office of
the Commissioner of Baseball, any other Major League Baseball Entity or the Major League
Clubs acting collectively, including agreements or arrangements entered into pursuant to the
Major League Baseball Documents and (iii) the present and future mandates, rules, regulations,
policies, practices, bulletins, by-laws or directives issued or adopted by, or behalf of, the
Commissioner, the Office of the Commissioner of Baseball or any other Major League Baseball
Entity as in effect from time to time, including the Guidelines.

“Newco Subs” has the meaning set forth in the Formation Agreement.

“Net Income or Net Loss” means, for each fiscal year or other period, an amount equal
to the Company’s taxable income or loss for such year or period, determined in accordance with
Code Section 703(a) (for this purpose, all items of income, gain, loss or deduction required to be
stated separately pursuant to Code Section 703(a)(1) shall be included in taxable income or loss)
with the following adjustments:

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(a) Any income of the Company that is exempt from Federal income tax and
not otherwise taken into account in computing Net Income or Net Loss shall be added to such
taxable income or loss;

(b) Any expenditure of the Company described in Code Section 705(a)(2)(B)
or treated as a Code Section 705(a)(2)(B) expenditure pursuant to Treasury Regulations Section
1.704-1(b)(2)(iv)(i) and not otherwise taken into account in computing Net Income or Net Loss
shall be subtracted from such taxable income or loss;

(c) In the event the Agreed Value of any Company asset is adjusted pursuant
to the last sentence of Section 5.1(a) hereof, the amount of such adjustment shall be taken into
account as gain or loss from the disposition of such asset for purposes of computing Net Income
or Net Loss for the fiscal year in which such adjustment occurs;

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(d) Gain or loss resulting from any disposition of property with respect to
which gain or loss is recognized for Federal income tax purposes shall be computed by reference
to the Agreed Value (as reduced by Depreciation) of the property disposed of, notwithstanding
that the adjusted tax basis of such property differs from its Agreed Value;

(e) In lieu of depreciation, amortization and other cost recovery deductions
taken into account in computing Federal taxable income or loss, there shall be taken into account
Depreciation for such fiscal year or other period; and

(f) Notwithstanding any other provision, any items which are specially
allocated pursuant to Section 5.2(b) hereof shall not be taken into account in computing Net
Income or Net Loss. Nevertheless, such items shall be taken into account in adjusting Capital
Accounts pursuant to Section 5.2(a) hereof.

“Nonrecourse Deductions” has the meaning set forth in Treasury Regulations Sections
1.704-2(b)(1) and 1.704-2(c).

“Nonrecourse Liability” has the meaning set forth in Treasury Regulations Section
1.704-2(b)(3).

‘Note Documents” has the meaning set forth in the Note Purchase Agreement.

“Note Purchase Agreement” means the Note Purchase Agreement dated ;
2009, among the Member, the lenders party thereto, and any administrative or other lender
agents and any other Persons that will be parties thereto.

“Obligations” means, collectively, (i) the “Obligations,” as such term is defined in the
Credit Agreement, and (ii) the “Obligations”, as such terms is defined in the Note Purchase
Agreement.

“Office of the Commissioner of Baseball” means the Office of the Commissioner of
Baseball, an unincorporated association comprised of the Major League Clubs who are party to
the Major League Constitution, and any successor organization thereto.

“Operating Cash Flow” means, for any period, all gross cash proceeds of the Company
less cash used to pay or establish reserves for all expenses of the Company, pay debt service,
capital improvements, compensation, replacements, and contingencies, all as determined by the
Board in its sole discretion. Operating Cash Flow shall not be reduced by depreciation,
amortization, cost recovery deductions, or similar allowances, but shall be increased by any
reductions of reserves previously established by the first sentence of this definition. Operating
Cash Flow shall not include Capital Contributions or Capital Proceeds.

“Option Period” means the period commencing on the date Tribune Member gives
notice of a Third Party Offer to Ricketts Member and ending on the date that Ricketts Member
gives Tribune Member the ROFR Notice or, if no ROFR Notice is given, twenty (20) days
following the date Tribune Member gives notice of a Third Party Offer to Ricketts Member.

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“Percentage Share” means the Percentage Share set forth for each Member on Exhibit C
attached hereto, subject to adjustment as provided in this Agreement.

“Permitted Disposition” means, with respect to a Member, a Disposition of all or any
part of such Member’s Company Interest that is permitted under Article VIL.

“Person” means any individual, corporation, partnership (including any general, limited
or limited liability partnership), limited liability company, joint venture, joint-stock company,
trust, estate, unincorporated organization, governmental or regulatory body or other entity or
association.

“Plan of Reorganization” shall mean a bankruptcy plan of reorganization of Tribune
Company and certain of its subsidiaries that have filed or will file for relief under Chapter 11 of
Title 11 of the United States Code.

“Protected Period” has the meaning set forth in the Tax Matters Agreement.

“Plan of Reorganization” shall mean a bankruptcy plan of reorganization of the Tribune
Company and certain of its subsidiaries that have filed or will file for relief under Chapter 11 of
Title 11 of the United States Code.

“Refinancing Debt” has the meaning set forth in the Tax Matters Agreement.

“Retained Cubs Current Assets” has the meaning set forth in the Formation
Agreement.

“Revolver” has the meaning set forth in the Formation Agreement.

“Ricketts Subordinated Loan Commitment Agreement” means that certain
Subordinated Loan Commitment Agreement of even date herewith between [Ricketts Affiliate]
and the Company.

“Secured Parties” has the meaning set forth in the Credit Agreement.

“Security Lien” means any pledge, lien, mortgage or security interest (of any nature
whatsoever) securing the payment or performance of any liability or other obligation.

“Senior Debt Financing” shall have the meaning set forth in the Formation Agreement.
“Subordinated Debt Financing” has the meaning set forth in the Formation Agreement.

“Subsidiary” means, with respect to any specified Person, each of: (a) any other Person
not less than a majority of the overall equity in which is beneficially owned, directly or
indirectly, by such specified Person; (b) any other Person in respect of which such specified
Person has the power, directly or indirectly, to elect a majority of the board of directors or other
persons performing similar functions (it being understood that such other persons performing
similar functions may include, for example and without limitation, the board of directors of the
sole, or managing, corporate general partner of a limited partnership or the members of a

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management committee of a partnership, limited partnership or limited liability company
performing functions similar to that of a board of directors); and (c) without limitation of clauses
(1) and (11), any other Person who or which, directly or indirectly, is Controlled by such specified
Person (it being understood, with respect to each of clauses (a) and (b), that a pledge for
collateral security purposes of an equity interest in a Person shall not be deemed to affect the
ownership of such equity interest except to the extent that the pledgee exercises its remedies and
disposes of such equity interest).

“Successor” means: (a) with respect to any current Member, any future Member which is
a direct or indirect transferee (whether by Permitted Disposition, merger, consolidation or
otherwise) of the Company Interest of such current Member; and (b) with respect to any former
Member, the current Member which is the direct or indirect transferee (whether by Permitted
Disposition, merger, consolidation or otherwise) of the Company Interest of such former
Member.

“Tax Matters Agreement” means that certain Tax Matters Agreement of even date
herewith by and among the Company, the Members and certain of their Affiliates.

“Tax Matters Member” means the “tax matters partner” (as defined in Section
6231(a)(7) of the Code) of the Company.

“TeamCo” means , a Delaware limited liability company
organized by the Company for the sole purpose of acquiring, owning, and operating the Club and
owned 100% by the Company.

“TeamCo LLC Agreement” means the limited liability company agreement for
TeamCo.

“Third Party” means any Person other than a Member, an Affiliate of any Member or a
Person in which a Member or an Affiliate of any Member has any direct or indirect interest.

“Transaction Documents” has the meaning set forth in the Formation Agreement.

“Treasury Regulations” means final and temporary regulations promulgated under the
Code.

“Tribune Guarantees” has the meaning set forth in the Formation Agreement.

“Unreturned Common Capital” means, with respect to each Member, an amount equal
to such Member’s Common Capital minus distributions to such Member pursuant to Section
5.4(c)(i) hereof.

“Valuation Amount” means (i) the Company FMV, (ii) the Call Price, (iii) the Put Price,
(iv) the Tag/Drag-Along Price, (v) the Excess Asset Value of Excess Assets or (vi) the Excess
Distribution Value of Excess Distributions, as applicable.

“WGN” means WGN Continental Broadcasting Company.

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2. The following Glossary of Defined Terms sets forth the location of the definitions
of certain other defined terms used in the Agreement:

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GLOSSARY OF DEFINED TERMS

Additional Capital Notice 2.2(a)
Agreement Preamble

Bidder Directors 3.2

Board 3.2

Call 7.2(a)

Call Closing Date 7.2(a)

Call Notice 7.2(a)

Call Period 7.2(a)

Call Price 7.2(a)

Call/Put Closing 7.2(e)

Company Preamble

Company FMV 2.2(b)
Confidential Information 8.2
Cubs LLC Preamble

Deferred Put Closing Date .7.2(b)
Director 3.2

Dispute Notice 7.5(a)

Dominican LLC Preamble

DQ LLC Preamble

Drag 7.4(a)

Drag Notice 7.4(a)

Formation Agreement Recitals
Indemnified Person 34

Initiating Notice 7.5(a)

Interest Change Date 5.2(a)(iii)
Loss Limit Allocations 5.2(b)\(vi)C1)
MLB Control Person 1.7
Officers 3.4(a)

Original Put Closing Date .7.2(b)
Potential Tag Notice 7.4(a)
Premium Tickets LLC Preamble
Put 7.2(b)

Put Completion Notice .7.2(b)
Put Notice 7.2(b)

Put Period 7.2(b)

Put Price 7.2(b)

Required Additional Funds 2.2(a)
Reverse Section 704(c) Allocations 5.3(b)
Ricketts Member Preamble
Ricketts Member Tag/Drag-Along Price 7.4(b)
ROFR Notice 7.3(b)

Section 704(c) Allocations 5.3(a)
Special Distribution 1.3(d)

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Specified Sale 7.4(a)

Tag 7.4(a)

Tag Notice 7.4(a)

Tag Response 7.4(b)
Tag/Drag- Along Price 7.4(b)
Third Party Offer 7.3(a)
Third Party Purchaser 7.3(a)
Tribune Recitals

Tribune Director 3.2
Tribune Member Preamble
Tribune Members Preamble
Tribune Proxy 4.3(e)
Tribune Sports Preamble
Valuation Notice 7.5(c)

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EXHIBIT B

Initial Directors

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EXHIBIT C

Members, Percentage Shares, and Common Capital

Member Percentage Share _| Common Capital
Ricketts Member 95%
Cubs LLC

Tribune Sports

Premium Tickets LLC

DQ LLC

Dominican LLC

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